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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

  Civil Action No. 17-cv-02493-RM-KMT

  UMAR FAROUK ABDULMUTALLAB,

        Plaintiff,

  v.

  JEFFERSON SESSIONS, Attorney General of the United States, in his official capacity;
  FEDERAL BUREAU OF PRISONS;
  JOHN DOES 1 THROUGH 20, in their official capacities;

        Defendants.
  ________________________________________________________________________

             AMENDED COMPLAINT FOR INJUNCTIVE RELIEF,
              DECLARATORY RELIEF, AND ATTORNEY’S FEES
  ________________________________________________________________________

        Plaintiff Umar Farouk Abdulmutallab, through his attorneys, Gail K. Johnson and

  Aurora L. Randolph of Johnson & Klein, PLLC, hereby submits this Complaint alleging

  violations of his rights under the First, Fifth, and Eighth Amendments to the United

  States Constitution as well as under the Religious Freedom Restoration Act, 42 U.S.C.

  § 2000bb (RFRA).

                                 I.     INTRODUCTION

        1.     Plaintiff Umar Farouk Abdulmutallab, a native of Nigeria, has been in

  federal custody since December 25, 2009. He is serving four terms of life imprisonment

  plus 50 years for his convictions for the attempted use of a weapon of mass destruction
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  on a commercial airliner that landed in Detroit, Michigan, and the attempted murder of

  the 289 people on board.

         2.     Mr. Abdulmutallab was indicted and prosecuted in the U.S. District Court

  for the Eastern District of Michigan for multiple federal criminal offenses. He pleaded

  guilty without a plea bargain to all counts charged against him. He received the

  maximum sentence possible on each count and cumulatively.

         3.     Mr. Abdulmutallab was only 23 years old on February 16, 2012, when he

  was sentenced to serve multiple life sentences in the federal prison system.

         4.     In March 2012, Mr. Abdulmutallab was transferred to the United States

  Penitentiary–Administrative Maximum in Florence, Colorado (ADX), to serve his life

  sentences there. ADX is the highest security prison operated by the Federal Bureau of

  Prisons (BOP).

         5.     The conditions of confinement at ADX are the most restrictive of any

  federal prison in the United States. As a result of his transfer to ADX, Mr.

  Abdulmutallab was placed in indefinite, long-term solitary confinement—potentially for

  decades.

         6.     The United States government believes that Mr. Abdulmutallab was

  recruited to commit his crimes of conviction by Anwar Al-Awlaki. On September 30,

  2011, more than six years ago, and several months before Mr. Abdulmutallab was




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  convicted and transferred to ADX, Mr. Al-Awlaki was killed by a United States drone

  strike in Yemen.

         7.     Before transferring Mr. Abdulmutallab to long-term solitary confinement at

  ADX, the United States government (through its Attorney General) placed Mr.

  Abdulmutallab under Special Administrative Measures (SAMs). The SAMs imposed on

  Mr. Abdulmutallab prohibit him from having any communication whatsoever with more

  than 7.5 billion people, the vast majority of people on the planet.

         8.     The BOP is among those entities responsible for implementing SAMs.

  Because he is under SAMs, Mr. Abdulmutallab is incarcerated in the H-Unit of ADX.

  All of the inmates at ADX who are under SAMs are housed in H-Unit, and all of the

  inmates housed in the H-Unit of ADX are under SAMs.

         9.     The social isolation inherent in Mr. Abdulmutallab’s placement in long-

  term solitary confinement at ADX is greatly exacerbated by his SAMs, which further

  isolate him from other people to a remarkable degree. There are currently more than

  154,000 inmates in BOP custody. Of those 154,000 inmates, fewer than 30 are under

  SAMs and incarcerated at H-Unit in ADX.

         10.    The hundreds of inmates incarcerated at ADX who are not under SAMs are

  allowed to communicate with any persons they wish, with very few exceptions. Apart

  from attorney-client communications, such communications to and from ADX inmates

  are subject to monitoring by the BOP and other federal law-enforcement officials.




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        11.    Mr. Abdulmutallab’s SAMs have been renewed annually each year since

  their imposition, sometimes with minor modifications. For example, previous versions of

  Mr. Abdulmutallab’s SAMs in effect from March 2012 until August 2016 prohibited him

  from communicating with one of his own sisters, Maryam Mutallab. This is true even

  though the BOP had previously allowed Mr. Abdulmutallab to communicate with

  Maryam Mutallab while he was incarcerated during the pendency of his federal criminal

  case at the Federal Correctional Institution-Milan in Michigan (FCI Milan).

        12.    In response to his request for contact with his sister, the BOP told Mr.

  Abdulmutallab the FBI denied his request because of “security concerns.” Neither the

  BOP nor the FBI provided Mr. Abdulmutallab any specific information supporting these

  purported security concerns.

        13.    Mr. Abdulmutallab’s current SAMs allow him to communicate with

  Maryam Mutallab.

        14.    Since their imposition in 2012 and continuing until the present time, the

  SAMs have prohibited and continue to prohibit Mr. Abdulmutallab from communicating

  in any manner whatsoever with his nieces and nephews. Mr. Abdulmutallab currently

  has thirteen nieces and nephews. Twelve of them are children. Nine of them are age 14

  or younger. Six of them are age 11 or younger. Three of them are age 7 or younger.

        15.    According to 28 C.F.R. § 501.3(a), SAMs must be reasonably necessary to

  protect persons against the risk of death or serious bodily injury. Mr. Abdulmutallab’s




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  SAMs are not reasonably necessary to protect persons against the risk of death or serious

  bodily injury.

         16.       According to 28 C.F.R. § 501.3(a), SAMs may be imposed on a BOP

  inmate only when there is a substantial risk that the inmate’s communications or contacts

  with persons could result in death or serious bodily injury to persons, or substantial

  damage to property that would entail the risk of death or serious bodily injury to persons.

  Neither when the SAMs were first imposed on Mr. Abdulmutallab, nor at any time

  thereafter, has there been evidence that Mr. Abdulmutallab’s communications pose such

  a substantial risk.

         17.       Prison walls do not form a barrier separating prison inmates from the

  protections of the United States Constitution.

         18.       The communication restrictions contained in Mr. Abdulmutallab’s SAMs

  and implemented by the BOP are an unconstitutional deprivation of his First-Amendment

  rights to free speech and association. This infringement of Mr. Abdulmutallab’s First-

  Amendment rights is not reasonably related to any legitimate penological interest.

         19.       Mr. Abdulmutallab is a Muslim. His SAMs severely restrict his ability to

  practice his religion. These restrictions also violate Mr. Abdulmutallab’s rights under the

  Religious Freedom Restoration Act, 42 U.S.C. § 2000bb (RFRA).

         20.       During the more than five years that Mr. Abdulmutallab has been

  incarcerated at ADX, he has not been able to participate in group prayer in accordance




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  with his sincerely held religious beliefs. ADX categorically prohibits congregational

  prayer, and Defendant BOP has a policy prohibiting group prayer in any facility unless in

  a designated area (generally only in a chapel) and at a designated time (generally only

  once a week). On information and belief, inmates cannot access prison chapels very

  often.

           21.     ADX does not currently have an imam on staff. Nor does ADX currently

  have an imam on contract. Mr. Abdulmutallab has not had regular access to an imam in

  several years.

           22.     During the more than five years that Mr. Abdulmutallab has been

  incarcerated at ADX, he has not been provided with a halal diet and instead has been

  forced—sometimes forcibly, sometimes as a result of having no other options—to

  consume foods that are considered haram or religiously forbidden, in violation of his

  sincerely held religious beliefs.

           23.     During his incarceration at ADX, Mr. Abdulmutallab has behaved well and

  maintained respectful relationships with BOP officials.

           24.     Like other Muslim inmates in ADX’s H-Unit, Mr. Abdulmutallab has been

  subjected to frequent harassment regarding his religion. During prayer times, white

  supremacist inmates in H-Unit often curse, yell, scream, and say things that are

  religiously insulting and offensive to Muslims, including to Mr. Abdulmutallab.




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         25.    ADX corrections officers have allowed this religious harassment by white

  supremacist inmates against Muslim inmates in H-Unit to take place.

         26.    Some corrections officers have themselves harassed Mr. Abdulmutallab by

  displaying to him during prayer times magazines containing photographs of naked

  women, which is religiously offensive to him. Corrections officers have also defiled

  religious items in Mr. Abdulmutallab’s cell, such as his prayer rug and Qu’ran.

         27.    This harassment has rendered it extremely difficult for Mr. Abdulmutallab

  to manage the difficulties of the harsh conditions of solitary confinement by taking solace

  in his religion and religious practices.

         28.    In the face of this prolonged, systematic, mental, spiritual, and

  psychological cruelty, Mr. Abdulmutallab has tried to shed light on the illegal and

  unconstitutional conditions of his confinement at ADX and under SAMs by engaging in

  nonviolent and passive protest in the form of hunger striking.

         29.    Mr. Abdulmutallab has gone on hunger strike to protest his SAMs and in

  particular the fact that for several years, he was being arbitrarily denied any

  communication whatsoever with his own sister, Maryam Mutallab. Mr. Abdulmutallab

  has also gone on hunger strike at ADX to protest the fact that prison officials allow the

  white supremacist inmates in H-Unit to continually harass Muslim inmates in H-Unit

  during Islamic prayer times.




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         30.    Hunger striking is a well-established means of drawing attention to—and

  nonviolently protesting—extreme human rights abuses and inhumane and illegal

  government oppression. Newly captured enslaved persons crossing the Atlantic Ocean

  on the brutal and dangerous journey from Africa to America would hunger strike, and

  were force fed. So too would enslaved persons in the United States sometimes hunger

  strike, and be force fed at the direction of their “owners.” Suffragettes in both the United

  Kingdom and in the United States sometimes protested the fact that the law denied

  women the right to vote by hunger striking, and were force fed. And from Pelican Bay,

  California, to Youngstown, Ohio, prisoners in the United States have engaged in hunger

  strikes in recent years in order to shine the light of public attention on the harshness of

  supermax prison conditions and encourage reform.

         31.    Instead of attempting to address Mr. Abdulmutallab’s legitimate concerns

  about the illegal and inhumane treatment he has received, Defendants have intentionally

  and repeatedly responded to and retaliated against Mr. Abdulmutallab for exercising his

  constitutional right to hunger strike by force-feeding him and by transferring him to

  Range 13 at ADX.

         32.    At ADX, Mr. Abdulmutallab has been repeatedly force fed in a manner that

  is excessively and unnecessarily painful, abusive, dangerous, and degrading. On one

  occasion, the force-feeding tube was placed down his windpipe instead of his esophagus,

  causing the nutritional supplement liquid to enter his lungs and resulting in Mr.




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  Abdulmutallab feeling like he was being drowned in a manner akin to waterboarding. On

  other occasions, even when the force-feeding tube was placed down Mr. Abdulmutallab’s

  esophagus, the high speed and high volume used for the feeding has caused pain and

  discomfort and has been unnecessarily risky to Mr. Abdulmutallab’s health. The force-

  feedings of Mr. Abdulmutallab at ADX have also violated his religion. His hunger

  striking is necessarily a religious practice given his sincerely held religious beliefs and

  the religious harassment he has experienced at ADX and is protesting when he hunger

  strikes. Additionally the BOP has force-fed him with substances that are “haram,” which

  he is religiously forbidden to consume.

         33.    Range 13 is the most isolated range in ADX. The degree of isolation for

  the few inmates who are ever incarcerated there is more extreme than in H-Unit. There

  are four cells on Range 13, two on one side and two on the other. Range 13 was designed

  to hold up to two inmates, with one inmate being rotated between two cells on one side of

  the range while another inmate being rotated between the two cells on the other side. A

  wall was constructed between the two sides of the Range to prevent inmates from

  communicating with each other. Range 13 has no ranges of inmate cells above or below

  it. Inmates incarcerated on Range 13 are moved from their cells to a “recreation” facility

  without any human contact; a BOP official remotely opens and closes sliding doors

  electronically and then the inmate walks from his cell into the “recreation” facility.




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   There is no exercise equipment in the Range 13 recreation facility and no view of other

   ADX inmates.

          34.    The BOP denies that it uses solitary confinement, instead preferring the

   euphemism “restrictive housing.”

          35.    The U.S. Department of Justice’s Office of Inspector General recently

   conducted an audit of “restrictive housing” and mental illness in the BOP, which

   culminated in a written report issued July 2017. According to that report, when asked

   whether placement on Range 13 could be considered a form of solitary confinement, an

   ADX psychologist responded by describing the inmate experience in Range 13 as a form

   of torture:

                 [Y]ou have no contact, you don’t speak to anybody, and it’s a
                 form of torture on some level.… [Inmates] still talk to officers
                 and stuff like that, but they don’t really get a chance to see
                 anybody…. They rec[reate] alone; we don’t even have to be
                 back there to rec them. So, yes, I would say that they are in
                 fact in solitary confinement.1

          36.    Based on his indefinite incarceration in H-Unit under SAMs and where his

   nonviolent protests of the inhumane conditions of his confinement are met with brutal

   force-feeding and incarceration in Range 13, Mr. Abdulmutallab is subject to conditions

   of confinement amounting to an atypical and significant hardship in relation to the

   ordinary incidents of prison life. Mr. Abdulmutallab has been and continues to be

   deprived of his liberty interest in avoiding such conditions of confinement without being

   1
     Review of the Federal Bureau of Prisons’ Use of Restrictive Housing for Inmates with Mental
   Illness (July 2017), at 16 (emphasis added).



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   provided adequate notice and a meaningful opportunity to be heard, in violation of due

   process of law as guaranteed by the Fifth Amendment to the United States Constitution.

          37.     The extreme communication restrictions of the SAMs violate Mr.

   Abdulmutallab’s rights to free speech and association, including his right to family

   relationships, under the First and Fifth Amendments to the United States Constitution.

          38.     By incarcerating Mr. Abdulmutallab under SAMs in H-Unit, the BOP has

   also significantly curtailed his ability to practice his religion.

          39.     Defendant BOP and its staff at ADX have substantially burdened Mr.

   Abdulmutallab’s practice of Islam in accordance with his sincerely held religious beliefs

   by denying him the opportunity for congregational prayer, access to an imam, a halal

   diet, and the right to nonviolently protest the religious harassment that is an integral part

   of his harsh conditions of confinement without being brutally force fed and transferred to

   the extreme isolation of Range 13.

          40.     Mr. Abdulmutallab’s SAMs, his indefinite solitary confinement at ADX,

   the extreme conditions of confinement in H-Unit at ADX, and the use of force-feeding in

   response to nonviolent passive protest in the form of hunger striking inflict unnecessary

   psychological pain on Mr. Abdulmutallab and are contrary to the evolving standards of

   decency that are the hallmark of a maturing society. These factors together violate the

   proscription against cruel and unusual punishments in the Eighth Amendment to the

   United States Constitution.




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          41.    Mr. Abdulmutallab seeks a judgment declaring that Defendants’ actions,

   policies, and practices described herein violate his constitutional rights under the First,

   Fifth, and Eighth Amendments to the United States Constitution and his statutory rights

   under RFRA.

          42.    Mr. Abdulmutallab seeks an injunction prohibiting Defendant BOP from

   force-feeding him as a response to his passive, nonviolent protest—in the form of hunger

   striking—of his conditions of confinement and the violations of his religious rights.

          43.    Mr. Abdulmutallab also seeks an injunction compelling Defendant Sessions

   to remove Mr. Abdulmutallab’s SAMs.

          44.    Mr. Abdulmutallab also seeks an injunction compelling Defendants to

   remove him from solitary confinement (a/k/a/ “restrictive housing”).

          45.    Mr. Abdulmutallab also seeks injunctive relief requiring the BOP to allow

   him to engage in daily congregational prayers, provide him with regular access to an

   imam, and provide him with a halal diet in accordance with his sincerely held religious

   beliefs.

                            II.     JURISDICTION AND VENUE

          46.    This Court has subject-matter jurisdiction over this case under 28 U.S.C.

   §§ 1331 and 1343(a)(4) because Mr. Abdulmutallab seeks equitable relief for the

   deprivation of rights secured by the United States Constitution and 42 U.S.C.

   § 2000bb-1(c) (RFRA), an Act of Congress providing or the protection of civil rights.




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             47.   This Court further has jurisdiction to grant declaratory relief under 28

   U.S.C. § 2201(a) because there is an actual controversy within this Court’s jurisdiction

   regarding whether Defendants violated Mr. Abdulmutallab’s constitutional and statutory

   rights.

             48.   Venue is proper in the District of Colorado under 28 U.S.C § 1391(b)(2),

   because a substantial part of the events or omissions giving rise to the claims occurred or

   will occur in the District of Colorado.

                                         III.    PARTIES

             49.   Plaintiff Umar Farouk Abdulmutallab is a federal prisoner in the custody of

   the BOP who has been continuously confined at ADX since March 2012. Mr.

   Abdulmutallab is a devout Muslim who regularly practices the Islamic faith.

             50.   Defendant Jefferson Sessions is the Attorney General of the United States.

   Attorney General Sessions has decision-making authority regarding the placement,

   transfer, and treatment of prisoners within the BOP, as well as the power to direct the

   imposition, renewal, and cessation of SAMs affecting prisoners within the custody of the

   BOP pursuant to 28 C.F.R. § 501.3. He is sued in his official capacity.

             51.   Defendant BOP is an agency of the United States that is responsible for the

   administration of federal prisons, including ADX. The BOP maintains physical custody

   of Mr. Abdulmutallab.

             52.   Defendants John Does 1 through 20 (“John Does”) are one or more

   individuals, agencies, offices, or task forces that, upon information and belief, are



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   associated with the United States Department of Justice, federal law-enforcement

   agencies, or agencies of the United States intelligence community and that have authority

   and influence over the renewal and implementation of SAMs pursuant to 28 C.F.R.

   § 501.3. They are sued in their official capacities.

                             IV.     FACTUAL BACKGROUND

   A.     Mr. Abdulmutallab’s Arrest, Guilty Pleas, and Sentence

          53.    Mr. Abdulmutallab was arrested at Detroit Metropolitan Airport by U.S.

   Customs and Border Protection Officers on December 25, 2009.

          54.    The United States prosecuted Mr. Abdulmutallab for multiple federal

   crimes.

          55.    Mr. Abdulmutallab pleaded guilty to all counts charged against him in the

   Indictment.

          56.    He was sentenced to the maximum sentence on each count, resulting in a

   cumulative sentence of more than four consecutive terms of life imprisonment.

          57.    Mr. Abdulmutallab has been imprisoned at ADX for more than five years,

   where he is locked down alone in his cell for 22-23 hours a day.

   B.     Mr. Abdulmutallab’s Initial Confinement

          58.    In early 2012, Mr. Abdulmutallab was initially confined to the special

   housing unit of FCI Milan, where he was incarcerated in solitary confinement for

   approximately 23 hours per day under highly restrictive conditions characterized by

   social isolation and sensory deprivation.



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          59.      While in pretrial detention, Mr. Abdulmutallab was surveilled by

   correctional officers 24 hours a day.

          60.      As a Muslim, Mr. Abdulmutallab sincerely believes that his religion

   requires him to consume only food items that are “halal,” meaning lawful, as opposed to

   foods that are “haram,” or forbidden. Haram foods include, but are not limited to, pork

   and pork byproducts; meat from animals not slaughtered according to prescribed

   methods; and additives containing alcohol, including sugar alcohols, gelatin, animal

   shortening, and certain emulsifiers or enzymes.

          61.      Islamic doctrine dictates, and Mr. Abdulmutallab sincerely believes, that

   non-halal (“haram” or forbidden) food destroys the spirituality and morality of the

   consumer. Mr. Abdulmutallab further sincerely believes, as part of his religion, that a

   Muslim who consumes non-halal food is “faasiq” (dissolute) and considered a flagrant

   sinner, and that the prayers of a person eating haram food are considered ineffective.

          62.      The Qu’ran states “Allah knows best who strayed from His path: and He

   knows best who receives His guidance. So eat meat on which Allah's name has been

   pronounced, if you have faith in His signs.” Mr. Abdulmutallab believes that to fully

   observe this mandate of Islam, he must eat a completely halal diet with halal meats and

   that he is religiously forbidden from being vegetarian.

          63.      During his incarceration at FCI Milan, Mr. Abdulmutallab had no access to

   a halal diet.




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          64.    At FCI Milan, Officer Polkinghorn and Officer Rutter would intentionally

   flip through sexually explicit magazines in Mr. Abdulmutallab’s line of sight while he

   was praying. This essentially forced Mr. Abdulmutallab to view naked images while

   praying in direct violation of his religion.

          65.    Officer Polkinghorn and Officer Rutter also harassed Mr. Abdulmutallab by

   defiling his religious items during a shakedown of his cell. When Mr. Abdulmutallab

   returned to his cell following the shakedown by these officers, he saw that the condition

   of his Qur’an had changed; some pages of the Qur’an had been partially ripped, and a

   sticky liquid had been put on the Qur’an. Additionally, upon returning to his cell

   following this shakedown by these officers, Mr. Abdulmutallab saw that his prayer rug,

   which he had left neatly folded, was crumpled and lying in a different location, as if it

   had been kicked around.

          66.    In addition to the persistent religious harassment, FCI Milan correctional

   officers including Officer Marvin deliberately made noises to continually deprive Mr.

   Abdulmutallab of sleep.

          67.    The degrading and inhumane behavior of FCI Milan correctional officers

   toward Mr. Abdulmutallab foreshadowed the harsh and tormenting conditions of

   confinement he continues to face at ADX.

   C.     Transfer to ADX

          68.    In the beginning of March 2012, Mr. Abdulmutallab was notified that he

   was being transferred to ADX.



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          69.    Mr. Abdulmutallab’s family had already come all the way from Nigeria to

   visit him on a planned and authorized family visit.

          70.    Even though Mr. Abdulmutallab would not begin the transfer process until

   later that day, the BOP refused to allow Mr. Abdulmutallab to visit with his family.

          71.    Mr. Abdulmutallab was temporarily housed at United States Penitentiary

   Florence pending his placement at ADX.

          72.    His family again attempted to visit him at USP Florence.

          73.    Despite that the family had already been approved for a visit, the BOP

   arbitrarily refused to allow the visit. It would be over a year before Mr. Abdulmutallab

   would be able to see his family again in person.

          74.    Mr. Abdulmutallab was placed in the special housing unit at USP Florence,

   where he had no access to a halal diet in violation of his sincerely held religious beliefs.

          75.    Mr. Abdulmutallab was placed in a cell full of vulgar writing and sexually

   explicit pictures. He was arbitrarily stripped searched in front of other inmates and

   female officers, in violation of his religion.

          76.    On March 30, 2012, Mr. Abdulmutallab was told he would be have his

   ADX placement hearing the next day.

          77.    Mr. Abdulmutallab immediately asked to speak to his attorneys in order to

   prepare for the hearing, but his request was ignored.




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          78.     A few days earlier, Mr. Abdulmutallab had been interviewed by a BOP

   psychologist who specifically encouraged him to attend ADX placement hearing.

   According to the psychologist, given Mr. Abdulmutallab’s disposition, Mr.

   Abdulmutallab did not belong at ADX.

          79.     The “hearing” was conducted in a prison counselor’s office. The hearing

   officer was on the telephone.

          80.     At the beginning of the hearing, Mr. Abdulmutallab was told that the only

   purpose for his attendance at the hearing was to defend himself against any incident

   reports in his file.

          81.     Mr. Abdulmutallab fruitlessly attempted to present evidence that many

   organizations including the United Nations and Human Rights Watch have shown that

   solitary confinement is counterproductive to the goal of rehabilitation. He tried to

   explain to the hearing officer it was not necessary to designate him to ADX. But he was

   immediately shut down and told that the BOP already monitors evidence related to

   solitary confinement.

          82.     Mr. Abdulmutallab tried to recount to the hearing officer what the BOP

   psychologist had said, but the hearing officer told him that it was not relevant.

          83.     In less than fifteen minutes, the hearing was over.

          84.     A day later, Mr. Abdulmutallab received a report stating that he was

   designated to ADX.




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            85.   Mr. Abdulmutallab has received no prison disciplinary charges for violence

   while he has been incarcerated at ADX. Mr. Abdulmutallab has not attempted to incite

   violence via communications with individuals outside of prison, and he does not intend to

   do so.

            86.   Mr. Abdulmutallab does not have an ongoing desire to commit violent

   jihad. Destined to serve his life in prison, Mr. Abdulmutallab wishes to serve out his

   sentence in peace and calm without causing trouble, as evidenced by his nonviolent

   record.

   D.       Background and Operation of ADX

            87.   At any given time, between 400 and 500 prisoners are housed at ADX.

   There are nine different maximum-security housing units, which are divided into six

   security levels: the Control Unit (or “Bravo” Unit); the disciplinary Special Housing

   Unit (also called “Charlie” Unit, “Zulu” Unit, the “SHU,” or the “Hole”); “Range 13,” an

   ultra-secure and isolated four-cell wing of Charlie Unit in which the BOP houses

   prisoners it believes require confinement with virtually no human contact; four “General

   Population” Units (“Delta,” “Echo,” “Fox,” and “Golf” Units); the Special Security Unit

   (also called the “SAMs” Unit or “H” Unit); and two units (“Joker” Unit and “Kilo” Unit)

   that in recent years have been used as transitional housing units for prisoners who have

   entered the ADX “Step-Down Program” can earn their way out of ADX and into a lower

   security classification. Half of “Kilo” Unit – the K/B Unit – is used for the High Security




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   Adult Alternative Housing Program, a program designed for prisoners who have been

   confined in ADX for an extended period of time but who cannot move through the ADX

   Step-Down Program for transfer to an open population institution. Under BOP policy,

   this program is “ . . . designed for inmates who have generally demonstrated that they can

   function in a less-secure environment within the ADX without posing a risk to

   institutional security.” The K/B Unit is separate and distinct from the ADX Step-Down

   Program, and prisoners in the K/B Unit are able to freely move within the unit for up to

   four hours per day. Prisoners must be over fifty years of age to live in the K/B Unit.

          88.    ADX prisoners who are not in the ADX Step-Down Program spend from

   23-24 hours per day locked alone in their cells. The cells measure approximately 12 feet

   by 7 feet and have solid walls that prevent prisoners from viewing the interiors of other

   cells or having direct contact with other prisoners. All ADX cells have a solid door with

   a small closable slot.

          89.    Each cell is furnished with a concrete bed, desk, and stool and a stainless-

   steel combination sink and toilet. The beds are usually dressed with a thin mattress and

   blankets over concrete.

          90.    Each cell contains a single window, approximately 42 inches tall and 4

   inches wide, which allows entry of some natural light but is designed to ensure that

   prisoners cannot see anything outside of their cells other than the building and sky.




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          91.    Meals are delivered three times a day, to be consumed alone inside the cell.

   With few exceptions, prisoners in most ADX units are allowed out of their cells only for

   limited social or legal visits, some forms of medical treatment, visits to the “law library”

   (a cell with a specialized computer terminal that provides access to a limited range of

   federal legal materials), and a few hours per week of indoor or outdoor recreation.

   Otherwise, prisoners remain locked in their cells.

          92.    ADX offers four meal options to prisoners: a regular diet, no-pork diet, no-

   meat diet, and the Common Fare diet (a Kosher diet).

          93.    Jewish prisoners are able to obtain their religiously-mandated kosher diet

   through the Common Fare diet.

          94.    Food that is kosher is not necessarily halal.

          95.    The prison commissary does not regularly sell meals that meet Mr.

   Abdulmutallab’s religious needs, i.e., halal-certified meals that include halal meats.

          96.    Kosher-certified meals with meat are regularly sold in the prison

   commissary.

          97.    The refusal to provide a halal diet means Mr. Abdulmutallab is faced with a

   Hobson’s choice at every meal—he must choose whether to eat or observe his religion.

   E.     The ADX Step-Down Program

          98.    The ADX Step-Down Program involves prisoners being progressively

   transferred through a series of three transitional housing units in which they are afforded

   direct, although still extremely limited, contact with other prisoners.



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          99.    Successful completion of the ADX Step-Down Program is necessary for a

   prisoner to be allowed to transfer out of ADX. Still, prisoners who reside in the step-

   down units are confined to their cells for all but a few hours a day.

          100.   Every prisoner intent on earning his way out of ADX is required to pass

   through Joker Unit. One side of Joker Unit, comprising 32 cells, houses the first stage in

   the Step-Down Program. Prisoners are eligible for transfer to Joker Unit only after

   completing an extended period of good conduct.

          101.   Prisoners who avoid trouble in Joker Unit are eligible to move, after a time,

   to the second phase of Step-Down, where they have more privileges.

          102.   The second phase of the ADX Step-Down Program is housed at USP

   Florence, which is directly across the street from ADX. Prisoners who successfully

   complete the second Step-Down phase are eligible to move to the final Step-Down phase

   (also housed at USP Florence), which provides even more privileges and a pathway to

   transfer to a regular, high-security federal penitentiary.

          103.   Unlike other ADX cells, the individual cells in the Step-Down units at

   ADX have no interior bars. Accordingly, only one sliding solid steel door separates

   prisoners from the open day room at the center of the unit. Joker-Unit prisoners are part

   of a “Recreation Group” of up to seven other prisoners housed on the same tier. Each

   Recreation Group is released at once into the day room or outside recreation yard, where

   they have unrestricted access to one another.




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          104.   Mr. Abdulmutallab has never been housed in Joker-Unit in the more than

   five years he has been incarcerated at ADX.

          105.   Successful completion of the Step-Down Program can take years, even if a

   prisoner behaves perfectly. But any transgression, however minor, can and often does

   result in the prisoner’s removal from the program, placement back in ADX’s Special

   Housing Unit, and a restarting of the good-conduct clock.

          106.   Many ADX prisoners have made it part way through the Step-Down

   Program several times, only to be returned to the SHU or general population based on a

   small transgression.

   F.     H-Unit

          107.   On Wednesday April 11, 2012, Mr. Abdulmutallab was transferred to

   H-Unit.

          108.   H-Unit is one of the most restrictive units at ADX. With the exception of a

   period of approximately three weeks when he was sent to Range 13, Mr. Abdulmutallab

   has been and continues to be confined in H-Unit since he was transferred to ADX in

   April 2012. H-Unit contains only male inmates who are subject to SAMs.

          109.   Mr. Abdulmutallab’s H-Unit cell measures 75.5 square feet and contains a

   bed, table, cement slab, toilet, and television.

          110.   Mr. Abdulmutallab’s cell contains no shower. He must use the communal

   shower located within his particular range.




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          111.   The communal shower area is frequently used as a toilet by many inmates

   and therefore unsanitary.

          112.   Mr. Abdulmutallab’s cell has a narrow window through which he can see

   the wall of the outside hallway, but no other cells or people other than those who pass by

   the window. The cell has a smaller window to the outside that faces the recreation yard.

          113.   Mr. Abdulmutallab is locked down alone in his cell for 22-23 hours a day.

          114.   He is fed his meals in his cell and must eat every meal alone.

          115.   Access to books from ADX education department, library access,

   commissary access, television and radio access, and family and legal visitation are

   subject to significantly greater restrictions in H-Unit than in other ADX units.

          116.   Whenever Mr. Abdulmutallab leaves his unit, such as to attend a legal visit,

   he is placed in hand and leg shackles that are connected to chains circling his waist, and

   he is accompanied by multiple corrections officers.

          117.   Mr. Abdulmutallab is placed in leg shackles and belly chains during legal

   visits and when being escorted within H-Unit.

          118.   Mr. Abdulmutallab’s recreation schedule is as follows: two hours per day,

   either outside (six days a week) or inside (one day a week). The outside recreation

   facilities consist of a yard with six individual cages. The indoor recreation facilities

   consist of a large cell in which Mr. Abdulmutallab does not see any other inmates.




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   G.     Imposition of Special Administrative Measures (SAMs)

          119.   In April 2012, Mr. Abdulmutallab was placed under SAMs based on “his

   proclivity for violence.”

          120.   Pursuant to 28 C.F.R. § 501.3, SAMs may be imposed only at the direction

   of the Attorney General and, upon that direction, authorization to the Warden by the

   Director of the BOP, upon written notification “that there is a substantial risk that a

   prisoner’s communications or contacts with persons could result in death or serious

   bodily injury to persons, or substantial damage to property that would entail the risk of

   death or serious bodily injury to persons.”

          121.   Pursuant to 28 C.F.R. § 501.3, SAMs “may include housing the inmate in

   administrative detention and/or limiting certain privileges including, but not limited to,

   correspondence, visiting, interviews with representatives of the news media, and use of

   the telephone, as is reasonably necessary to protect persons against the risk of acts of

   violence or terrorism.”

          122.   Pursuant to 28 C.F.R. § 501.3, SAMs may not be imposed for a period of

   longer than one year, though they may be extended in one-year increments thereafter by

   the Director of the BOP upon receipt of written notification from the Attorney General

   or, at the Attorney General’s direction, from the head of a federal law-enforcement

   agency or the head of a member agency of the U.S. intelligence community, “that there

   continues to be a substantial risk that the inmate's communications or contacts with other




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   persons could result in death or serious bodily injury to persons, or substantial damage to

   property that would entail the risk of serious bodily injury to persons.”

          123.      The SAMs imposed upon Mr. Abdulmutallab have been continually

   renewed on an annual basis since their imposition in April 2012.

          124.      Mr. Abdulmutallab has never been apprised of or provided meaningful

   notice of the reasons for his initial placement under SAMs nor of the reasons for their

   annual renewals.

          125.      Mr. Abdulmutallab was not provided a hearing or other opportunity to

   address the imposition of SAMs prior to their imposition.

          126.      While Mr. Abdulmutallab has availed himself of the opportunity to provide

   comments about at least some of the annual renewals of the SAMs, his requests for

   modification or removal of the SAMs have uniformly been rejected and denied without

   meaningful explanation.

          127.      Defendant Sessions continues to impose SAMs on Mr. Abdulmutallab

   without adequate justification or procedural protections for Mr. Abdulmutallab’s liberty

   interests.

          128.      On information and belief, Mr. Abdulmutallab’s SAMs are imposed on him

   based on assumptions about his beliefs. During his SAMs renewal process, Mr.

   Abdulmutallab has not even been asked if he has an ongoing commitment to violence or

   violent jihad.




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          129.   There is no reasonable connection between the proffered justifications for

   Mr. Abdulmutallab’s SAMs and those restrictions. This is illustrated by Defendants non-

   imposition of SAMs on inmates whose criminal records (and institutional conduct) raise

   similar or more grave concerns than those Defendants proffer to justify the imposition of

   Mr. Abdulmutallab’s SAMs.

          130.   For example, another inmate imprisoned at ADX, Theodore (“Ted”)

   Kaczynski, was convicted of terrorism-related charges based on actions that resulted in

   the deaths of three individuals and the injuries of twenty-eight others.2 During the trial,

   the prosecution presented diary entries in which Mr. Kaczynski said he had found it

   “'frustrating, but I can't seem to make a lethal bomb.”3 During his criminal trial, Mr.

   Kaczynski responded “Yes, Your Honor” in “what sounded like cheerful tones as Judge

   Burrell asked him repeatedly if he acknowledged committing the acts” described by

   prosecutors, and “he seemed self-confident to the point of defiance…seem[ing] to see the

   situation as comic or absurd.”4 Mr. Kaczynski is well known for his persistent media

   messaging to spread the political messages behind his crimes of conviction. In 1995,

   during his 17-year spree of bombings, Mr. Kaczynski coerced The Washington Post and

   The New York Times to publish a 35,000-word essay explaining his motives and views

   2
     See Unabomber, Federal Bureau of Investigation – Famous Cases & Criminals,
   https://www.fbi.gov/history/famous-cases/unabomber (last accessed on Apr. 8, 2018).
   3
     William Glaberson, The Unabomber Case: The Overview; Kaczynski Avoids a Death Sentence
   With Guilty Plea, The New York Times (Jan. 23, 1998),
   https://www.nytimes.com/1998/01/23/us/unabomber-case-overview-kaczynski-avoids-death-
   sentence-with-guilty-plea.html (last accessed on Apr. 8, 2018).
   4
     Id.



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   of the ills of modern society under the threat of more bombings if they refused.5 Since

   his imprisonment, Mr. Kaczynski has continued to spread his messages through prolific

   correspondence and regular interviews with the media.6 Despite these factual

   circumstances, Mr. Kaczynski is not under SAMs. And, on information and belief, Mr.

   Kaczynski is housed in the K/B Unit at ADX.

          131.   Similarly, for example, despite Defendant BOP’s explicit recognition that

   “[Matthew Hale] has used his subtle and sophisticated communications skills to solicit

   the murder of a federal judge,” Mr. Hale is not under SAMs or, according to Defendant

   BOP, any correspondence restrictions whatsoever.7 Before his incarceration, Mr. Hale

   was the worldwide leader of Creativity (also referred to as “Church of the Creator”), a

   BOP-designated Security Threat Group (STG) because of its long history of racially

   motivated violence, on the streets and in prison. The BOP defines an STG as “an inmate

   group, gang, or organization acting in concert to promote violence, escape, drug,

   disruptive, and/or terrorist activity.”8 Mr. Hale was convicted by a federal jury in 2004 of

   plotting the death of U.S. District Court Judge Joan Lefkow after she ruled against him

   and ordered his supremacist group to change its name in a trademark-infringement case.


   5
     Id.
   6
     Holly Bailey, The Unabomber’s Media Strategy, Yahoo! News (Jan. 29, 2016)
   https://www.yahoo.com/news/the-unabomber-s-media-strategy-204008303.html (last accessed
   on Apr. 8, 2018).
   7
     14-cv-00245-MSK-MJW, Doc. 186, “Defendant[ BOP’s] Motion for Summary Judgment on
   All Remaining Claims,” at 2 (D. Colo. August 1, 2017) (“Mr. Hale does not have standing to
   pursue these claims. The last set of correspondence restrictions was removed in July 2013.”)
   8
     Id. at 51.



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          132.   Mr. Hale was incarcerated at ADX after his sentencing. In 2010, Defendant

   BOP imposed a temporary mail restriction on Mr. Hale because he had designated

   himself as “Pontifex Maximus Pro Tempore” in correspondence to other Creativity

   affiliates, appearing to again assume a leadership role. Defendant BOP went to great

   lengths to ensure Mr. Hale could communicate before they imposed this restriction. For

   example, between August 2009 and June 2010, the BOP managed Mr. Hale’s

   communications on a letter-by-letter basis. In January 2011, the restriction on Mr. Hale

   was lifted. Then in December 2012, Mr. Hale wrote to the leader of the National

   Socialist Movement, a Neo-Nazi organization, encouraging it to pursue “mass activism

   tactics”—specifically, “street demonstrations, rallies in parks, and meetings in public

   libraries”—to “reach people who don’t necessarily wish to be reached” with “the Holy

   Swastika.” In response, in 2013 Defendant BOP again imposed a temporary mail

   restriction on Mr. Hale while he was imprisoned at ADX, putting him on Restricted

   General Correspondence Status.9

          133.   This restriction was lifted in July 2013. In May 2016, Mr. Hale was

   transferred to the Federal Correctional Institution in Terre Haute, Indiana (“FCI Terre

   Haute”), “where he had broad communications privileges, including access to email.”10

   While at FCI Terre Haute, “Mr. Hale reestablished contact with his associates and

   followers in the Creativity Movement. He learned through communications with his

   9
     See 28 C.F.R. § 540.15 (authorizing Warden to place individualized restrictions on inmate
   correspondence after receiving process).
   10
      14-cv-00245-MSK-MJW, Doc. 186, at 2.



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   followers that one of them was willing to ‘take out’ a federal judge or prosecutor for Mr.

   Hale. Within a few weeks, Mr. Hale wrote, and the BOP email system inadvertently

   released, a ‘press release’ about a federal judge. BOP officials considered the ‘press

   release’ to constitute a credible threat against the judge, in light of its racially

   inflammatory language and its potential impact on Mr. Hale’s like-minded and pliant

   followers outside the prison. As a result of Mr. Hale’s communications at FCI Terre

   Haute, he was returned to the ADX in April 2017.”11 At ADX, “Mr. Hale is now subject

   to a different approach to mail monitoring by the BOP. Under that approach, Mr. Hale is

   permitted to send and receive mail. But his mail must comply with the rules the Bureau

   of Prisons imposes on Security Threat Groups or ‘STGs.’ Mr. Hale cannot be allowed to

   hold a position of authority in his STG, to communicate about his STG, or to be involved

   in the business of running his STG.”12

          134.    Mr. Hale has made statements suggesting he has no remorse for his crimes

   or violent beliefs.13 “In 1999, apparently in response to the Illinois bar refusing to grant a

   law license to Mr. Hale, a Creativity adherent named Benjamin Smith when on a shooting

   rampage, targeting black, Asian, and Jewish victims, killing two and injuring nine before

   turning the gun on himself. Mr. Hale eulogized Mr. Smith, praising his willingness to

   ‘take action for his people . . . and spread our sacred message.’ Mr. Hale later gave an

   11
      14-cv-00245-MSK-MJW, Doc. 186, at 2-3.
   12
      Id.
   13
      14-cv-00245-MSK-MJW, Doc. 212, “Opinion and Order on Motion for Summary Judgment,”
   at 25 (D. Colo. March 28, 2018) (quoting United States v. Hale, 448 F.3d 971, 975-77 (7th Cir.
   2006)).



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   ambiguous statement on behalf of Creativity, refusing to condemn Mr. Smith’s actions.

   Mr. Hale stated that ‘it’s not he policy of the church to commit crimes, but [due to racial

   grievances] do not be surprised when a white man of the character and honor of Ben

   Smith stands up and fights back in the way that he did.’ Suggesting that ‘the future will

   see more, more Ben Smiths,’ Mr. Hale announced that ‘we cannot condemn a man for

   doing what he feels in his heart is right, whether it’s outside the tactics of the church or

   not… In 2000, when the Supreme Court refused to hear Mr. Hale’s challenge to Illinois’

   denial of his law license, Mr. Hale left a message to Creativity followers, stating that he

   ‘can no longer in good faith and good conscience urge, recommend, or instruct my

   adherents and supporters in general to obey the laws of this land.’ He encouraged his

   followers to ‘take whatever actions we deem necessary to resist this tyranny’ and stated

   that ‘whatever blood is spilled will be on the hands of those who so severely wronged us

   today.’”14

          135.    Mr. Hale’s beliefs and actions serve as an inspiration for individuals

   seeking to commit crimes. “Between 2005 and 2008, at least two individuals, William

   White and Hal Turner, were convicted of soliciting the murder of jurors and others

   connected with Mr. Hale’s criminal trial.” 15 And Mr. Hale is still able to communicate




   14
     Id.
   15
     Id. at 26 (citing United States v. White, 698 F.3d 1005 (7th Cir. 2012); United States v. Turner,
   720 F.3d 411 (2d Cir. 2013)).



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   messages to his followers.16 Despite his underlying conviction and his continued

   behavior, Mr. Hale is not—and never was—under SAMs. According to Defendant BOP,

   as of August 1, 2017, “[n]o mail ban has been imposed on him since [2013].”17 There are

   no restrictions on the persons outside the prison with whom Mr. Hale can correspond,

   including his followers in the Creativity Movement (they just cannot talk about the

   business of the Creativity Movement because it is a designated STG). Indeed, from April

   7, 2017, to July 26, 2017, Mr. Hale had sent 64 pieces of non-legal mail and received 109

   pieces of non-legal mail. Mr. Hale is allowed to possess—in his ADX cell—a copy of

   Nature’s Eternal Religion (Creativity’s “Bible”)—which the BOP has said contains

   extensive racially-inflammatory language and ideas, the dissemination of which in a

   multi-racial prison environment is highly likely to lead to violent conflict among inmates.

          136.   As yet another example, Eric Robert Rudolph—who pled guilty to four

   bombings: the Olympic attack in Atlanta in the summer of 1996, attacks on an Atlanta

   abortion clinic and gay club in 1997, and an explosion at an all-woman clinic in

   Birmingham in 1998—is not now and never has been on SAMs. Collectively, the

   bombings perpetrated by Mr. Rudolph killed two people and injured 150. At one of his

   hearings, Mr. Rudolph “nodded vigorously as a narrative account of the bombings was



   16
      See Mohammed Kloub, From prison, white supremacist Matthew Hale endorses Roy Moore,
   Chicago Tribune (November 27, 2017), http://www.chicagotribune.com/news/ct-met-matthew-
   hale-roy-moore-chicago-inc-20171127-story.html (last accessed on Apr. 10, 2018) (noting Mr.
   Hale’s press release from prison).
   17
      14-cv-00245-MSK-MJW, Doc. 186, at 2.



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   read aloud, and at one point he appeared to wink in the direction of the prosecutors.”18

   When the judge asked if Mr. Rudolph had detonated the clinic bomb, which killed an off-

   duty police officer and maimed a nurse, Mr. Rudolph said “I certainly did, Your

   Honor.”19 In a statement issued after he made his plea deal, Mr. Rudolph said “after the

   agreement has been signed the talking heads on the news opine that I am ‘finished,’ that I

   will ‘languish broken and unloved in the bowels of some supermax,’ but I say to you

   people that by the grace of God I am still here-a little bloodied, but emphatically

   unbowed.”20 Mr. Rudolph has had essays he has written from prison posted on the

   internet.21 In one essay, Mr. Rudolph justified violence against abortion clinics by saying

   Jesus would condone “militant action in defense of the innocent.”22 In 2013, Mr.

   Rudolph published his autobiography from prison with help from his brother.23

          137.   On March 16, 2018, Mr. Abdulmutallab’s SAMs were renewed. The 2018

   SAMs are virtually identical to his previous SAMs, with a few non-substantive word

   changes.



   18
      Shaila Dewan, Bomber Offers Guilty Pleas, and Defiance, The New York Times (April 14,
   2005), https://www.nytimes.com/2005/04/14/us/bomber-offers-guilty-pleas-and-defiance.html
   (last accessed Apr. 10, 2018).
   19
      Id.
   20
      Id.
   21
      Jay Reeves, Extremist Taunts His Victims From Prison, Fox News (May 14, 2007),
   https://web.archive.org/web/20070516044017/http://www.foxnews.com/wires/2007May14/0,467
   0,EricRudolph,00.html (last accessed Apr. 10, 2018).
   22
      Id.
   23
      See Bomber Eric Rudolph self-published autobiography from prison, The Denver Post,
   https://www.denverpost.com/2013/02/23/bomber-eric-rudolph-self-publishes-autobiography-
   from-prison/ (last accessed Apr. 10, 2018).



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          138.   The only process Mr. Abdulmutallab received as to his 2018 SAMs renewal

   was the opportunity to fill out a standardized form regarding his SAMs. On this form,

   Mr. Abdulmutallab specifically requested that his attorneys meet with officials to discuss

   his SAMs on his behalf. Mr. Abdulmutallab’s attorneys were not contacted for such a

   meeting. After submitting his form, Mr. Abdulmutallab received no further information

   regarding his SAMs until he was presented with the finalized 2018 SAMs in March.

   H.     Mr. Abdulmutallab’s Right to Familial Relationships

          139.   BOP policy states that inmates at ADX “have the right to visit and

   correspond with family members and friends . . . in keeping with Bureau rules and

   institution guidelines.” ADX Admission and Orientation Handbook (November 2008), at

   2.

          140.   Under his SAMs, Mr. Abdulmutallab is permitted to visit and correspond

   with no one other than his attorneys and his immediate family—narrowly defined as

   parents, siblings, children, and grandparents. Mr. Abdulmutallab is not permitted to

   communicate with his thirteen nieces and nephews, many of whom are young children.

          141.   Although Mr. Abdulmutallab is allowed to speak with his family on the

   phone three times a month, these calls are frequently cancelled without notice either Mr.

   Abdulmutallab or his family. These frequent, unannounced cancellations cause stress

   and anxiety for both Mr. Abdulmutallab and his family.

          142.   On information and belief, prisoners subjected to SAMs, such as Mr.

   Abdulmutallab, are each permitted to write one letter per week and that letter and its



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   contents can be addressed only to one person, such as prisoner’s father or mother but not

   both, or that letter will not be permitted to be sent. Prisoners not subjected to SAMs are

   not similarly restricted when writing letters. Thus, the SAMs deprive Mr. Abdulmutallab

   of a significant First-Amendment interest.

            143.   Mr. Abdulmutallab has had more than 26 letters rejected by ADX solely

   based on the unconstitutional restraint on communication due to the SAMs.

            144.   Some of the individuals whose letters have been rejected by ADX were

   people Mr. Abdulmutallab had previously communicated with while incarcerated at FCI

   Milan.

            145.   Mr. Abdulmutallab’s relationships with his family members have suffered

   great harm as a result of the prohibition against communicating with extended family

   members, especially his young nieces and nephews, and as a result of the excessive

   delays imposed on Mr. Abdulmutallab’s incoming and outgoing mail.

   I.       The Right to Read Books

            146.   BOP regulations state that inmates have the right to “a wide range of

   reading materials for educational purposes and for [their] own enjoyment.” 28 C.F.R.

   § 540.70 (2007). The regulations specify that this includes “magazines and newspapers

   sent from the community, with certain restrictions.” Id. Further, BOP regulations permit

   inmates to receive subscriptions without obtaining prior approval, with limited exceptions

   in the case of publications containing nudity or sexually-explicit material. See id.




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          147.   Whether due to the SAMs or other factors, Defendants have censored books

   coming into ADX for Mr. Abdulmutallab. For example, on July 26, 2017, two non-

   sexually-explicit and otherwise unobjectionable books were delivered to ADX for Mr.

   Abdulmutallab by amazon.com: The Life-Changing Magic of Tidying Up: The Japanese

   Art of Decluttering and Organizing, by Marie Kondo, and 168 Hours: You Have More

   Time Than You Think, by Laura Vanderkam. As of the filing of this Complaint, Mr.

   Abdulmutallab has not received these books, nor has he been given any reason why

   Defendants are refusing to allow him to read them.

   J.     The Right to Legal Counsel from an Attorney of Choice

          148.   BOP regulations state that federal inmates have the right to “legal counsel

   from an attorney of your choice by interviews and correspondence.” 28 C.F.R. § 541.12

   (2007). Under the SAMs, Mr. Abdulmutallab is not permitted to write to lawyers or law

   clinics to request legal advice, assistance, or representation. He is restricted to

   communicating with legal counsel from pre-approved attorneys who have signed a

   document affirming the SAMs. In practice, Mr. Abdulmutallab is not allowed to

   communicate with an attorney unless that attorney has been approved by the U.S.

   Attorney’s Office for the Eastern District of Michigan.

          149.   The government’s requirement that an attorney agree to a SAMs

   affirmation before the attorney can even read a letter or talk to a SAMs inmate regarding

   a legal matter constitutes an unreasonable prior restraint on free speech.




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          150.   At least two incoming letters from attorneys to Mr. Abdulmutallab were

   censored and disallowed by BOP solely due to his SAMs restrictions.

          151.   All attorneys are officers of the court and should be treated in such manner.

   For example, the government may wish to enclose the unopened envelope containing Mr.

   Abdulmutallab’s letter in its own envelope with a letter explaining that this

   communication is from a SAMs designated inmate, further explaining it is requested that

   the attorney does not forward anything to another person or communicate messages to

   others. Banning any initial consultation between a SAMs prisoner and his possible future

   lawyer is unreasonable, constitutes a prior restraint, and violates the First Amendment.

   K.     Communication with the News Media

          152.   BOP regulations also state inmates are permitted to correspond with

   members of the news media, as long as such communications are “in keeping with

   Bureau rules and institution guidelines.” See 28 C.F.R. § 540.20 (2007). The SAMs

   prohibit Mr. Abdulmutallab from communicating with the media—either directly or

   through his attorney. This is a blanket prohibition of all contact by any means.

          153.   The SAMs unreasonably restrict Mr. Abdulmutallab from communicating

   with the media and commenting on matters of public interest. There is no law or

   regulation have that inmates are precluded from providing comments on political and

   non-political issues. This restriction imposed by the SAMs is unreasonable and overly

   broad in violation of the First Amendment.

   L.     Lack of Meaningful Review



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          154.   The BOP’s Administrative Remedy procedure does not afford Mr.

   Abdulmutallab a meaningful review of his claims in connection with the SAMs.

          155.   The SAMs are renewed at the discretion of Defendant Sessions with input

   from federal prosecutors, the FBI, and other officials at the U.S. Department of Justice.

   The BOP has limited input and no control over whether SAMs are imposed or renewed.

   The BOP’s responsibility is restricted to the implementation of the SAMs.

          156.   Mr. Abdulmutallab has not been given meaningful notice of the reasons for

   the renewals of his SAMs, nor an opportunity to appear before the decision-makers, nor a

   meaningful explanation regarding why his SAMs are continually renewed.

          157.   The placement of Mr. Abdulmutallab in long-term segregation has been

   delegated by Congress to the BOP and not to federal prosecutors or the FBI. However,

   in reality, Defendant Sessions, federal prosecutors, and the FBI decide Mr.

   Abdulmutallab’s continued confinement in segregation through Defendant Sessions’s

   continual renewal of Mr. Abdulmutallab’s SAMs.

          158.   The renewals of Mr. Abdulmutallab’s SAMs were arbitrary and capricious

   and without penological justification.

   M.     No Meaningful Opportunity to Participate in ADX Step-Down Program

          159.   ADX presently operates two remediation programs: ADX Step-Down

   Program for the general population at ADX and the H-Unit Special Security Unit

   Program for H-Unit inmates. As a result of Mr. Abdulmutallab’s SAMs, he will never be




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   able to participate in ADX Step-Down Program or transfer out of ADX like other

   inmates.

          160.   As a result of his SAMs, Mr. Abdulmutallab is ineligible to participate in

   ADX Step-Down Program.

          161.   In 2008, ADX promulgated a separate internal program for H-Unit known

   as the Special Security Unit Program. This program provides for three phases through

   which an inmate, through good behavior, may earn greater privileges and less restrictive

   conditions of confinement while remaining within H-Unit under SAMs. However, the

   program does not provide an opportunity for the inmate to be transferred out of H-Unit.

          162.   Phase One is a baseline phase that is the most restrictive. Phase one

   inmates are permitted two non-legal phone calls per month, access to a commissary list,

   use of art and hobby craft items, escorted shower time on the inmate’s range three times

   each week, and have access to a minimum of ten hours of out-of-cell recreation per week.

          163.   Phase Two inmates are allowed three non-legal phone calls per month,

   access to an expanded commissary list use of additional art and hobby craft items,

   unescorted showers five times per week, and access to a minimum of ten hours of out-of-

   cell recreation per week.

          164.   Phase Three inmates are permitted to spend a minimum of one and a half

   hours per day on the range with as many as four other inmates, five days a week. They




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   are not restrained or escorted while on the range, eat one meal together, engage in

   recreational activities together, and may shower at any time they are on the range.

          165.   Consideration for advancement within the H-Unit Special Security Program

   includes such factors as “safety concerns, length of sentence, disciplinary record, history

   of assaultive/disruptive behavior, and escape potential.” In addition, “sanitation,

   willingness to participate in or cooperate with institutional programs or procedures,

   interaction with other inmates as well as positive rapport with staff are elements that will

   be used to evaluate placement in each phase.”

          166.   Based upon these factors, the H-Unit Review Committee makes an

   evaluation, on information and belief, every six months as to whether each inmate within

   the H-Unit Special Security Program is qualified to advance to the next phase.

          167.   The H-Unit Review Committee is not empowered to authorize the removal

   of an inmate from H-Unit. Inmates in H-Unit are not eligible for entry into the ADX

   Step-Down Program that is available to inmates in ADX’s so-called “general population”

   solitary confinement units.

          168.   Advancement to Phase Three of the H-Unit Special Security Program is

   conditioned upon the granting of a request by the participating inmate and the H-Unit

   Review Committee to the Office of General Counsel of the BOP for a modification of the

   SAMs imposed on that inmate consistent with the greater privileges allowed in Phase

   Three of the program. For Mr. Abdulmutallab to be allowed into Phase Three, his SAMs




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   would need to be modified to allow him to have contact with other inmates during

   recreation.

          169.   According to the BOP’s own policy, “[t]he review by the Committee is not

   a hearing. The inmate is not entitled to be present, to have counsel, or to call witnesses.”

   ADX Institutional Supplement 5321.07(3)I(II)(c)(7) (May 15, 2015).

          170.   No individual within the BOP has the power to modify or remove the

   SAMs restrictions on Mr. Abdulmutallab. Mr. Abdulmutallab’s 2018 SAMs state that

   “[i]f there is a conflict between USMS/BOP/DF policies and the SAM, as set forth

   herein, where the SAM are more restrictive than usual USMS/BOP/DF policies, then the

   SAM shall control.”

          171.   Mr. Abdulmutallab has participated in Phase One of the program and is

   presently in Phase Two of the program. On information and belief, Mr. Abdulmutallab

   has satisfied all requirements for progression to Phase Three of the program and has been

   reviewed and recommended for progression to Phase Three by the BOP on two

   occasions. He has been rejected from the program twice, despite the BOP’s positive

   recommendations.

          172.   On information and belief, this denial is based upon Mr. Abdulmutallab’s

   SAMs. He has repeatedly asked that his SAMs be modified to permit him to participate

   in Phase Three, but his requests have been denied.




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          173.   According to BOP policy, an inmate may appeal the decision through the

   BOP’s Administrative Remedy Program. ADX Institutional Supplement

   5321.07(3)I(II)(c)(7) (May 15, 2015). However, as noted, the BOP does not impose and

   cannot modify Mr. Abdulmutallab’s SAMs.

          174.   Mr. Abdulmutallab has been unable to obtain an explanation as to why his

   requests for modification or removal of the SAMs cannot be approved, other than that the

   reasons for his initial placement under SAMs have not been sufficiently mitigated.

          175.   Having never been provided meaningful notice of the reasons for his initial

   placement under SAMs, the reasons for the annual denial of his request for removal

   and/or modification, or the reasons for his failure to be advanced to Phase Three, Mr.

   Abdulmutallab is being wholly prevented from addressing the reason for his placement

   under SAMs.

          176.   Upon information and belief, the initial decision to place Mr.

   Abdulmutallab under SAMs restrictions, as well as the decision each year to renew the

   SAMs, were, are, and continue to be made by one or more individuals, groups of

   individuals, agencies, offices, or task forces associated with the U.S. Department of

   Justice, federal law-enforcement agencies, or agencies of the U.S. intelligence

   community, whose identities are unknown to Mr. Abdulmutallab. These individuals are

   joined in this action as Defendants John Does 1 through 20.




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         177.   Further, the requirement for modification of the SAMs as a precondition for

   advancement to Phase Three of the H-Unit Special Security Unit Program, and under

   circumstances where the existence of the SAMs effectively blocks entry into ADX Step-

   Down Program, renders ADX Step-Down Program unavailable and a sham as applied to

   Mr. Abdulmutallab.

         178.   Mr. Abdulmutallab has not been accepted into ADX Step-Down Program

   even though other inmates who have been incarcerated at ADX for less time than Mr.

   Abdulmutallab have been accepted into ADX Step-Down Program.

         179.   Mr. Abdulmutallab receives a “review” of his placement. Currently, these

   reviews are a brief conversation with a case manager, Ms. Kinney, which do not provide

   Mr. Abdulmutallab any guidance on the reasons for his placement. For example, his

   most recent review was a conversation lasting a few minutes with a brand new case

   manager, Ms. Kinney, who came to his cell door and discussed his fines and emergency

   contacts and left, without even mentioning Phase Three. The review Mr. Abdulmutallab

   received previously was conducted by a different case manager who told him he needed

   to take more educational courses to be considered for Phase Three. Following that case

   manager’s guidance, Mr. Abdulmuttalab completed three educational courses and is

   currently enrolled in three others. However, in the most recent review, Ms. Kinney, did

   not acknowledge with Mr. Abdulmutallab’s educational progress.

   N.    The SAMs Prohibit Mr. Abdulmutallab from Practicing His Sincerely Held
         Religious Beliefs.




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                  Mr. Abdulmutallab’s Sincerely Held Religious Beliefs

          180.    Mr. Abdulmutallab is a devout Muslim. His religious beliefs have been

   constant and unwavering throughout his life, including his years spent incarcerated.

          181.    As a devout Muslim, Mr. Abdulmutallab follows the five pillars of Islam,

   to the extent he can, while he is incarcerated. The five pillars of Islam include: (1)

   declaration that there is no God except Allah and that the Prophet Muhammad is Allah’s

   messenger; (2) prayer five times a day; (3) fasting during Ramadan; (4) zakat (charity);

   and (5) haj (pilgrimage to Mecca) if financially and physically able to do so.

          182.    Mr. Abdulmutallab believes that the Qur’an is the word of Allah.

                  Defendant BOP Has Substantially Burdened Mr. Abdulmutallab’s Ability
                  to Participate in Daily Group Prayer

          183.    As a Sunni Muslim, Mr. Abdulmutallab believes that prayer is a religious

   requirement.

          184.    Whenever possible, Muslims will pray together during the five daily

   prayers.

          185.    These daily prayers are very short and take only a few minutes to complete.

   The prayers follow a prescribed sequence of actions and words. Prisoners do not converse

   among themselves during the prayers.

          186.    Defendant BOP completely prohibits Mr. Abdulmutallab from praying with

   other Muslims.




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          187.   Mr. Abdulmutallab must conduct his prayers alone in his cell while white-

   supremacist inmates in H-unit harass him.

          188.   Mr. Abdulmutallab desires to be able to engage in congregate prayer for all

   daily prayers that take place during the time that he can be out of his cell.

          189.   The prohibition on Mr. Abdulmutallab’s ability to participate in daily group

   prayers imposes a substantial burden on his exercise of his religion, Islam.

          190.   The Bureau of Prisons allows Muslim inmates in its highly-restrictive

   Communication Management Units to pray together in groups.

          191.   Defendant BOP allows ADX prisoners to interact with one another during

   their recreation time.

          192.   Defendant BOP allows ADX prisoners—up to five at a time—to interact

   with each other while they are in individual cages for various groups, like group therapy,

   education courses, or health and wellness programs. In these cages, which are all

   together in the same small gymnasium at ADX, prisoners can see and talk to each other.

                 Defendant BOP Has Denied Mr. Abdulmutallab Regular Meetings with
                 an Imam.

          193.   An Imam is the primary Islamic religious leader who leads others in formal

   prayers; outlines lessons from the Qur’an by explaining its meaning and application in

   daily life; gives advice and counseling on personal, family, and financial issues; and

   builds Muslim community and fellowship.




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          194.      Islamic law mandates regular consultation with an Imam to ensure

   compliance with religious values in daily life.

          195.      Mr. Abdulmutallab sincerely believes that an Imam should/must provide

   him with much needed religious advice, both in general and specifically concerning the

   complicated spiritual challenges that prison presents.

          196.      Defendant BOP does not have a full-time imam employed at ADX, despite

   having full-time Christian and Jewish religious leaders employed there.

          197.      Defendant BOP has only rarely made a contract imam available to meet

   with Muslim prisoners incarcerated at ADX.

          198.      Mr. Abdulmutallab has not had regular access to an imam at ADX in

   several years.

          199.      The BOP has employed and continues to employ full-time Chaplains for

   other religious groups, including Christian Chaplains and a Jewish Rabbi, at the Florence

   Correctional Complex (FCC), of which ADX is a part. Jewish and Native American

   prisoners at ADX have been allowed visits with volunteers from outside the prison who

   are members of the same faith.

          200.      On information and belief, Defendant BOP has not been able to fill

   postings for a full-time imam at the Florence Correctional Complex (where ADX is

   located) because the BOP’s hiring criteria for full-time chaplains of any faith group are

   biased towards applicants with a Judeo-Christian background. On information and belief,




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   Defendant BOP knows that Muslim applicants will generally lack the required

   “practicum” experience because such experience is not generally required by Muslim

   religious leaders in the community.

   O.     Harassment by Correctional Officers and Inmates Due to Mr.
          Abdulmutallab’s Sincerely Held Religious Beliefs.

          201.   Since his arrival at ADX, Mr. Abdulmutallab has continuously been

   subjected to degrading behavior from correctional officers due to his religious beliefs.

          202.   Mr. Abdulmutallab is regularly subjected to insulting comments from

   correctional officers and inmates about Islam, including expletives to describe Allah and

   Prophet Muhammad. The deplorable comments include a sacrilegious process of

   describing vial sexual acts between Allah and Prophet Muhammad.

          203.   Certain correctional officers at ADX have deliberately harassed Mr.

   Abdulmutallab both directly and by failing to intervene when other inmates have abused

   him.

          204.   ADX houses inmate members of white supremacist gangs, including within

   H-Unit.

          205.   Since Mr. Abdulmutallab’s arrival in H-Unit in 2012, inmate members of

   white supremacist gangs have persistently mocked and insulted every aspect of his

   sincerely held religious beliefs.

          206.   During Mr. Abdulmutallab’s prayer times, white supremacist gang member

   inmates in H-Unit at ADX will purposefully disrupt the prayers by banging on the walls.




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          207.    Inmate members of white supremacist gangs who are incarcerated in ADX

   make insulting comments about Islam including: using expletives to describe the Prophet

   Muhammad and detailing sexual acts between God and the Prophet Muhammad.

          208.    Inmate members of white supremacist gangs who are incarcerated in ADX

   continuously taunt and whistle at Muslim inmates including Mr. Abdulmutallab during

   prayer time.

          209.    Although the correctional officers at ADX have a duty to protect inmates in

   their care, certain correctional officers themselves have white supremacist leanings and

   sympathies and are not only complicit with this humiliating treatment of Muslims by

   white supremacist inmates but also affirmatively participate in it.

          210.    During Mr. Abdulmutallab’s prayer times, some BOP correctional officers

   purposefully disrupt the prayers by making loud noise, such as by running a machine or

   moving a cart of food trays nearby in a particularly noisy manner.

          211.    Defendant BOP staff regularly interfere with Mr. Abdulmutallab’s ability to

   use the administrative remedy process to grieve his conditions of confinement by

   returning his administrative remedies for arbitrary reasons, slowing down the processing

   of his requests for administrative remedies, and failing to respond to them.

   P.     The Illegal Practice of Responding to Nonviolent and Passive Hunger Striking
          with Violent and Brutal Force-Feeding




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          212.   Federal prisoners like Mr. Abdulmutallab are required to follow complex

   administrative remedy procedures when seeking formal review of a complaint relating to

   their conditions of confinement.

          213.   However, as described above, because the BOP has no power or authority

   to remove or modify Mr. Abdulmutallab’s SAMs, the BOP’s administrative-remedy

   process cannot address and remedy Mr. Abdulmutallab’s concerns regarding his SAMs.

          214.   The overwhelming majority of prisoners in the United States—including

   the overwhelming majority of federal prisoners in the United States—are able to disclose

   and expose any inhumane and abusive treatment and conditions of confinement they

   experience through open communications with third parties, including without limitation

   international human rights entities, non-profit organizations concerned about human

   rights and prisoners’ rights, and members of the media. By contrast, prisoners under

   SAMs such as Mr. Abdulmutallab are prohibited from communicating with any such

   organizations or individuals to draw attention and seek outside assistance for the

   inhumane and abusive treatment and conditions of confinement they experience at ADX.

          215.   SAMs, combined with long-term indefinite solitary confinement is an

   extremely harsh and repugnant form of isolation that poses a grave risk of psychological

   and physical harm to all prisoners.




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          216.   Left with no other option to voice their serous concerns, inmates like Mr.

   Abdulmutallab therefore sometimes engage in hunger strikes to protest their

   unconstitutional and illegal conditions of confinement.

          217.   Hunger strikes have long been used as a means of nonviolent protest when

   a person has no other recourse to challenge grave injustices.

          218.   In August 2012, Mr. Abdulmutallab participated in a hunger strike to

   protest correctional officers’ and inmates’ persistent abuse and harassment described in

   this Complaint.

          219.   After Mr. Abdulmutallab refused food for 72 hours, Officers Wadas and

   Lozano removed him from his cell and told him he was being taken to “medical” for a

   health assessment.

          220.   Mr. Abdulmutallab told Officers Wadas and Lozano that he did not want to

   be medically assessed.

          221.   Officers Wadas and Lozano forcefully removed Mr. Abdulmutallab from

   his cell, threw him onto the concrete floor, shackled his hands painfully behind his back,

   and shackled his legs. SIS Officer Oliver and other officers then carried Mr.

   Abdulmutallab against his will to the medical unit at ADX.

          222.   When he again refused to be medically assessed, Mr. Abdulmutallab was

   taken to Range 13, a small unit that is the most isolated and high-security area of ADX.




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          223.   The next day, ADX Force Team took Mr. Abdulmutallab to medical to

   begin force-feeding procedures against his will.

          224.   After Mr. Abdulmutallab verbally protested the force-feeding, the officers

   decided against force-feeding him. They put Mr. Abdulmutallab in an empty cell in the

   medical unit for another two weeks.

          225.   After the two-week period, Mr. Abdulmutallab was then force-fed. He was

   placed in a six-point restraint chair and forcibly strapped down tightly at his hands, legs,

   waist, and shoulder.

          226.   The ADX Force Team surrounded Mr. Abdulmutallab and held his head in

   place so he could not avoid the forcible placement of the feeding tube.

          227.   BOP medical staff then thrust or shoved a nasogastric feeding tube through

   Mr. Abdulmutallab’s nose and down his throat against his will.

          228.   A very large amount of liquid nutritional supplement was fed through the

   nasogastric feeding tube in a very short amount of time. This made Mr. Abdulmutallab

   feel like he was drowning, and it caused him to vomit.

          229.   The speed of the force-feeding process used on Mr. Abdulmutallab

   amounted to “pumping,” a form “Water Cure” torture, which has been practiced since the

   Middle Ages. “Pumping,” featured prominently in the Spanish Inquisition, was also used




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   by the Imperial Japanese Army against soldiers during World War II, and has historically

   been considered “one of the most fearful tortures.”24

            230.    Mr. Abdulmutallab was force fed three more times that week before he

   decided to end his hunger strike.

            231.    In October 2012, Mr. Abdulmutallab started to hunger strike to protest the

   continued harassment by correctional officers and inmates and the fact that his SAMs

   prohibited him from communicating by any means with his sister Maryam and his nieces

   and nephews.

            232.    In response to this hunger strike, BOP Defendants force fed Mr.

   Abdulmutallab more than four times against his will and then sent him to Range 13 for a

   month and a half. These responses were to punish Mr. Abdulmutallab from engaging in

   hunger striking as a form of nonviolent protest of his inhumane conditions of

   confinement and the unconstitutional communication restrictions placed on him by the

   SAMs.

            233.    In July 2015, Mr. Abdulmutallab again went on a hunger strike to protest

   the continued harassment by correctional officers and inmates and the fact that his SAMs

   prohibited him from communicating by any means with his sister Maryam and his nieces

   and nephews.

            234.    In response to this July 2015 hunger strike by Mr. Abdulmutallab, the ADX

   Force Team arrived to remove Mr. Abdulmutallab from his cell and take him to be force
   24
        Darius Rejali, Torture and Democracy (2007) at 279-80.



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   fed. Faced with the prospect of yet again being brutally forcibly extracted from his cell

   by the Force Team, Mr. Abdulmutallab submitted to being cuffed and shackled and

   removed from his cell.

          235.   Mr. Abdulmutallab was again placed in a six-point restraint chair and

   forcibly strapped down tightly at his hands, legs, waist, and shoulders.

          236.   The ADX Force Team again surrounded Mr. Abdulmutallab and forcibly

   held his head while BOP medical staff inserted the feeding tube against Mr.

   Abdulmutallab’s will.

          237.   Unfortunately, the tube was inserted in the wrong place, into his trachea

   and down into his lungs, rather than through his esophagus and into his stomach. This

   caused Mr. Abdulmutallab to feel like he was being suffocated.

          238.   Because of the incorrect placement of the tube, Mr. Abdulmutallab

   subsequently developed serious breathing problems.

          239.   In March 2016, Mr. Abdulmutallab was unable to breathe properly.

          240.   Despite the fact that Mr. Abdulmutallab continually notified the officers

   that he was having trouble breathing, Officer Lancaster, Officer Garcia-Tunarod, and

   other, medical personnel at ADX did not consider his breathing problem serious enough

   to warrant treatment.

          241.   In addition, the officers deliberated restricted Mr. Abdulmutallab’s access

   to commissary to purchase medication to treat his serious breathing problems.




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          242.   After a week of suffering severe shortness of breath, Mr. Abdulmutallab

   was finally allowed to purchase medicine to treat his breathing problem.

          243.   On April 9, 2018, Mr. Abdulmutallab went on hunger strike for almost two

   days because of the restrictions he faces and the ongoing harassment he experiences from

   Defendant BOP officials. According to BOP Officer Tsuffis, the BOP classified him as a

   hunger striker when he refused to eat three meals in a row. Pursuant to their procedures

   as to prisoners on hunger strikes, BOP officials took Mr. Abdulmutallab out of his cell

   and performed a shake down of his cell on April 10, 2018. Mr. Abdulmutallab was seen

   by BOP medical staff regarding the hunger strike. On information and belief, Mr.

   Abdulmutallab lost weight as a result of this hunger strike.

          244.   By policy, Defendant BOP conducts shakedowns of every prisoner it deems

   to be hunger striking.

          245.   The consensus of the United Nations Special Rapporteurs, the World

   Medical Association, the American Medical Association, bioethicists, and human-rights

   organizations is that force-feeding prisoners falls within the definition of torture and

   constitutes cruel, inhumane, and degrading treatment or punishment.




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          246.     According to international law, force-feeding of prisoners under restraint

   and without proof of a life-threatening decrease in state of health constitutes “treatment

   of such a severe character warranting the characterization of torture.”25

          247.     On information and belief, the nutritional supplement forced into Mr.

   Abdulmutallab on each of these occasions was non-halal, or haram.

          248.     Mr. Abdulmutallab does not want to die, but he is faced with a “Hobson’s

   choice.” He may either continue to submit passively to his unconstitutional conditions of

   confinement—lingering in a twilight of half-death—or take the only peaceful course

   available to him to protest his situation, in the hope that he can obtain improvement in his

   daily living conditions and be confined under conditions that meet basic human standards

   of decency.

          249.     Hunger striking is his only recourse.

          250.     Indeed, Mr. Abdulmutallab has a sincerely-held religious belief that given

   his inability to practice other tenets of Islam he must hunger strike to express his fidelity

   to his faith.

          251.     Being forcibly made to end his hunger strikes substantially burdens Mr.

   Abdulmutallab’s right to exercise his religion.

          252.     Given the many ways in which the SAMs, BOP policies, and ongoing harsh

   conditions of confinement imposed on Mr. Abdulmutallab prevent him from

   25
     Nevmerzhitsky v. Ukraine, App. No. 548255/00, Final Judgment, ¶ 98, Dec. 10, 2005 (Eur. Ct.
   H.R.), available at https://www.legal-tools.org/doc/6420db/pdf (last visited on October 18,
   2017).



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   communicating with family members and others and substantially burden his practice of

   his religion, Mr. Abdulmutallab anticipates that he will likely be forced to hunger strike

   again in the future.

          253.   In addition to unconstitutionally force-feeding Mr. Abdulmutallab against

   his will for hunger striking, officers also retaliate against him for hunger striking by

   frequently “shaking down” his cell for no reason, intentionally throwing away his meals

   and food purchased at commissary, severely limiting or denying him access to the phone,

   canceling recreation without notice, denying him access to the shower, refusing him

   access to the laundry, and denying him access to other regular H-unit programs.

          254.   Since Mr. Abdulmutallab filed this lawsuit, his recreation time has been

   regularly cancelled for arbitrary reasons even when other in his Unit or recreation group

   have been allowed to recreate.

          255.   The FCC Florence Complex Supplement on “Hunger Strikes,” under

   “Refusal to Accept Treatment,” states that “[p]rior to treatment being administered

   against the inmate’s will, every reasonable effort must be made and documented to

   convince the inmate to voluntarily accept treatment.” FCC Florence CS 5562.05(c)(d)(2)

   (Sept. 13, 2012).

          256.   The FCC Florence Complex Supplement on “Hunger Strikes” further states

   that “[i]f after reasonable efforts, or in an emergency preventing such efforts, and a

   medical necessity for treatment of a life threatening situation exists, treatment may be




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   administered against the inmate’s will.” FCC Florence CS 5562.05(c)(d)(3) (Sept. 13,

   2012) (emphasis added).

          257.   These procedures were not followed in the BOP’s repeated force-feedings

   of Mr. Abdulmutallab. The BOP did not make reasonable efforts to resolve the reasons

   for Mr. Abdulmutallab’s hunger strikes. And no life-threatening situation existed during

   any of the occasions Defendant BOP officials forcibly restrained Mr. Abdulmutallab and

   pumped him full of nutritional supplement.

          258.   Upon information and belief, force-feeding of hunger-striking BOP

   prisoners take places primarily at ADX.

          259.   Upon information and belief, within ADX, hunger-striking and force-

   feeding takes place primarily with respect to prisoners assigned to H-Unit who are under

   SAMs.

          260.   Upon information and belief, within ADX, the prisoners who hunger strike

   and are force-fed are disproportionately Muslims.

          261.   At BOP facilities other than ADX, legitimate concerns of prisoners about

   their conditions of confinement do not generally reach the level of desperation that causes

   a prisoner to hunger strike, because such legitimate prisoner concerns are resolved by

   BOP staff.

          262.   One of the reasons the legitimate concerns of Muslim prisoners

   incarcerated in H-Unit under SAMs are not resolved by BOP staff or other federal




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   officials before the prisoners reach the level of desperation that they go on hunger strike

   is because of the veil of silence and secrecy resulting from the operation of the SAMs.

          263.   One of the reasons the legitimate concerns of Muslim prisoners

   incarcerated in H-Unit under SAMs are not resolved by BOP staff or other federal

   officials before the prisoners reach the level of desperation that they go on hunger strike

   is because BOP staff and federal officials are more responsive to the expressed concerns

   of white supremacist inmates under SAMs as compared to the expressed concerns of

   Muslim inmates under SAMs.

          264.   Abuse of prisoners thrives in secrecy.

          265.   Holding prisoners including Mr. Abdulmutallab under severe

   communication restrictions such as SAMs increases the frequency and severity of illegal

   practices, inhumane abuse, and violations of constitutional and statutory rights regarding

   those prisoners’ conditions of confinement.

          266.   Allowing prisoners open communication with the outside world about their

   conditions of confinement within the BOP would decrease and possibly eliminate the

   perceived need for Muslim prisoners such as Mr. Abdulmutallab to engage in hunger

   striking to protest those conditions of confinement, because the open flow of information

   naturally leads to voluntary remedial measures and humanitarian and legal reforms.




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   Q.     Psychological Harms of Prolonged Solitary Confinement

          267.    The devastating psychological and physical effects of prolonged solitary

   confinement are well documented by social scientists. Prolonged solitary confinement

   causes prisoners significant mental harm and places them at grave risk of even more

   devastating future psychological harm.

          268.    Mr. Abdulmutallab is also unable to benefit from the limited psychological

   services offered by Defendant BOP at ADX because the officials who work in

   psychological services at ADX also harass him. For example, psychology services

   officials will disturb Mr, Abdulmutallab’s prayer by making noises and mocking faces at

   him.

          269.    Social interaction is critical for mental and physical health and is a basic

   human need. Deprivation of social interaction has been shown to impact mortality rates

   and result in significant physical as well as emotional harm.26

          270.    Research has demonstrated that prolonged solitary confinement causes a

   persistent and heightened state of anxiety and nervousness, headaches, insomnia, lethargy

   or chronic fatigue (including lack of energy and lack of initiative to accomplish tasks),

   nightmares, heart palpitations, and fear of impending nervous breakdowns. Other

   documented effects include obsessive ruminations, confused thought processes,


   26
     See Jane Brody, Social Interaction Is Critical for Mental and Physical Health, The New York
   Times (June 12, 2017), https://www.nytimes.com/2017/06/12/well/live/having-friends-is-good-
   for-you.html (last accessed April 9, 2018) (collecting research regarding the physical and mental
   effects of deprivation of social interaction).



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   oversensitivity to stimuli, irrational anger, social withdrawal, hallucinations, violent

   fantasies, emotional flatness, mood swings, chronic depression, feelings of overall

   deterioration, and suicidal ideation. Individuals in prolonged solitary confinement

   frequently fear that they will lose control of their anger, and will thereby be punished

   further.

          271.   In Justice Breyer’s dissent from the denial of an application for stay of

   execution in Ruiz v. Texas, 16-7792, he discusses the Court’s jurisprudence regarding the

   dangers of extended solitary confinement: “The Court pointed to studies showing that ‘[a]

   considerable number of the prisoners fell, after even a short confinement, into a semi

   fatuous condition, from which it was next to impossible to arouse them, and others

   became violently insane; others still, committed suicide; while those who stood the ordeal

   better were not generally reformed, and in most cases, did not recover sufficient mental

   activity to be of any subsequent service to the community. It became evident that some

   changes must be made in the system,’ as ‘its main feature of solitary confinement was

   found to be too severe.’”

          272.   Mr. Abdulmutallab suffers from and exhibits some of these symptoms.

   While these symptoms are reported by people who have suffered from being placed in

   solitary confinement for days, months, or a few years, they become more pronounced and

   cause greater pain and suffering when one is incarcerated in these conditions for many

   years without any meaningful hope of release, as Mr. Abdulmutallab is.




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          273.      Mr. Abdulmutallab also suffers from significant concentration and memory

   problems.

          274.      Mr. Abdulmutallab experiences life in the H-Unit at ADX as a struggle to

   avoid becoming mentally ill. Faced with extraordinarily harsh conditions of long-term

   solitary confinement that prevent daily physical contact with other human beings,

   severely restrict communication with the outside world, and inhibit regular social

   communication within prison, he has developed psychological defense mechanisms that

   dampen and deaden his emotions.

          275.      Mr. Abdulmutallab experiences a range of other psychological symptoms

   stemming from his solitary confinement at FCI Milan, in H-Unit at ADX, and in Range

   13 at ADX, including hallucinations, anxiety, hypersensitivity, severe mood swings, and

   panic attacks.

          276.      These psychological symptoms are precisely those reported in the literature

   about individuals placed in prolonged solitary confinement. Mr. Abdulmutallab’s

   symptoms are very similar to those described in psychological literature about the long-

   term effects of severe trauma and torture.




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   R.     International Standards Regarding Torture and Cruel, Inhumane or
          Degrading Treatment

          277.   In light of the well-documented harms described above, there is an

   international consensus that the type of prolonged solitary confinement practiced at ADX

   violates international human rights standards and norms standards of humanity and

   human dignity.

          278.   International human rights organizations and bodies, including the United

   Nations, have condemned indefinite or prolonged solitary confinement as a human rights

   abuse that can amount to torture.

          279.   As just one example, in August 2011, the United Nations Special

   Rapporteur on Torture and Other Cruel, Inhuman or Degrading Treatment or Punishment

   (United Nations Special Rapporteur on Torture and CIDT) concluded that the use of

   solitary confinement is acceptable in only exceptional circumstances, and that its duration

   must be as short as possible and for a definite term that is properly announced and

   communicated. Mr. Abdulmutallab’s prolonged detention meets none of these criteria.

          280.   The United Nations Special Rapporteur on Torture and CIDT concluded

   that prolonged solitary confinement constitutes torture or cruel, inhuman or degrading

   treatment or punishment and is prohibited by the International Covenant on Civil and

   Political Rights (ICCPR) and the Convention Against Torture. The United Nations

   Special Rapporteur on Torture and CIDT concluded that even 15 days in solitary

   confinement constitutes a human-rights violation.




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          281.   The view of the United Nations Special Rapporteur on Torture and CIDT

   regarding prolonged solitary confinement comports with standards set forth by the

   Istanbul Statement on the Use and Effects of Solitary Confinement, the ICCPR Human

   Rights Committee, and the United Nations Office of the High Commissioner for Human

   Rights.

          282.   Repeated requests by the United Nations Special Rapporteur on Torture and

   CIDT for full and unfettered access to ADX and other Defendant BOP institutions where

   inmates under SAMs are incarcerated have been denied.27

          283.   Mr. Abdulmutallab has been held in solitary confinement for more than

   2000 days.

                                V.     CLAIMS FOR RELIEF

                                FIRST CLAIM FOR RELIEF
          Violation of the Fifth Amendment – Denial of Procedural Due Process in
                                      Transfer to ADX
                           (against Defendants Sessions and BOP)

          284.   Mr. Abdulmutallab incorporates by reference the foregoing paragraphs of

   this Complaint as if set forth fully herein.

          285.   Mr. Abdulmutallab brings this claim against Defendants Sessions and the

   BOP.




   27
     Allard K. Lowenstein International Human Rights Clinic & The Center for Constitutional
   Rights, The Darkest Corner: Special Administrative Measures and Extreme Isolation in the
   Federal Bureau of Prisons (September 2017) at 27.



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          286.   By transferring Mr. Abdulmutallab to ADX without meaningful notice, a

   hearing, the ability to present evidence to contest that transfer, regular review of his

   ongoing placement at ADX, notice of the projected duration of his confinement at ADX,

   and notice of any criteria for release, Defendants Sessions and the BOP, acting under

   color of law and their authority as federal officers, are intentionally or recklessly

   subjecting Mr. Abdulmutallab to an atypical and significant hardship in relation to the

   ordinary incidents of prison life, and are depriving him of liberty without due process of

   law and without legitimate penological purpose, in violation of the Fifth Amendment to

   the United States Constitution.

          287.   Mr. Abdulmutallab has no effective means of enforcing his Fifth

   Amendment due-process rights other than by seeking declaratory and injunctive relief

   from the Court.

          288.   As a result of Defendants’ unlawful conduct, Mr. Abdulmutallab has

   suffered and will continue to suffer emotional distress, psychological injury, and

   destruction of family ties.

                              SECOND CLAIM FOR RELIEF
                 Violation of the First Amendment – Denial of Free Speech
                                   (against all Defendants)

          289.   Mr. Abdulmutallab incorporates by reference the foregoing paragraphs of

   this Complaint as if set forth fully herein.

          290.   Mr. Abdulmutallab brings this claim against all Defendants.




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          291.   Under the Free-Speech Clause of the First Amendment to the United States

   Constitution, Mr. Abdulmutallab has the right to communicate with other persons.

          292.   By imposing, renewing, and implementing the SAMs against Mr.

   Abdulmutallab, Defendants have prohibited and are continuing to prohibit him from

   engaging in communications with a wide array of people, including close family

   members such as his thirteen nieces and nephews.

          293.   As a result of the SAMs imposed on Mr. Abdulmutallab, Defendants are

   censoring and restricting his outgoing correspondence to a degree not consistent with the

   restrictions applicable to other high-security inmates not placed under SAMs.

          294.   Defendants are censoring and restricting Mr. Abdulmutallab’s

   correspondence to a degree greater than is necessary to the protection of the

   governmental interests of security, order, and rehabilitation.

          295.   Defendants are censoring and restricting Mr. Abdulmutallab’s

   correspondence to a degree greater than is reasonably necessary to protect persons against

   the risk of acts of violence or terrorism.

          296.   Mr. Abdulmutallab is entitled to immediate restoration of his First-

   Amendment right to communicate with others except to the extent Defendants can

   demonstrate that restrictions upon that right are reasonably necessary to further a

   legitimate penological interest.




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          297.    Mr. Abdulmutallab has no adequate remedy at law or other effective means

   of enforcing his right to free speech under the First Amendment other than by seeking

   declaratory and injunctive relief from the Court.

          298.    As a result of Defendants’ unlawful conduct, Mr. Abdulmutallab has

   suffered and will continue to suffer harm.

                                 THIRD CLAIM FOR RELIEF
                 Violation of the First Amendment – Denial of Free Association
                                     (against all Defendants)

          299.    Mr. Abdulmutallab incorporates by reference the foregoing paragraphs of

   this Complaint as if set forth fully herein.

          300.    Mr. Abdulmutallab brings this claim against all Defendants.

          301.    In subjecting Mr. Abdulmutallab to the SAMs and unreasonably and

   excessively restricted access to visits and to telephone calls with family members, and

   imposing arbitrary and unjustified rules regarding the scheduling of such communication,

   Defendants, without legitimate penological purpose, and acting under color of law and

   their authority as federal officers, are intentionally or recklessly interfering with

   Plaintiff’s right to free speech and association in violation of the First Amendment to the

   United States Constitution.

          302.    Mr. Abdulmutallab has no adequate remedy at law or other effective means

   of enforcing his First-Amendment right to free association other than by seeking

   declaratory and injunctive relief from the Court.




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          303.      As a result of Defendants’ unlawful conduct, Mr. Abdulmutallab is

   suffering psychological injury, emotional distress, and destruction of their familial

   relationships.

                              FOURTH CLAIM FOR RELIEF
          Violation of the First Amendment – Deprivation of Familial Association
                                  (against all Defendants)

          304.      Mr. Abdulmutallab incorporates by reference the foregoing paragraphs of

   this Complaint as if set forth fully herein.

          305.      Mr. Abdulmutallab brings this claim against all Defendants.

          306.      The First Amendment right of association includes the specific right to

   associate with family members and engage in family relationships.

          307.      Mr. Abdulmutallab has the right under the First Amendment to associate

   with and engage in family relationships with all members of his family, not just those

   “immediate family members” described in his SAMs.

          308.      In particular, Mr. Abdulmutallab has a First-Amendment right to associate

   with his nieces and nephews.

          309.      Mr. Abdulmutallab’s SAMs infringe on his right of familial association,

   and this infringement is not reasonably related to any legitimate penological interest.

          310.      Mr. Abdulmutallab has no adequate remedy at law or other effective means

   of enforcing his right to family relationships under the First Amendment other than by

   seeking declaratory and injunctive relief from the Court.




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          311.     As a result of Defendants’ unlawful conduct, Mr. Abdulmutallab has

   suffered and will continue to suffer emotional distress, psychological injury, and

   destruction of family ties.

                               FIFTH CLAIM FOR RELIEF
          Violation of the Fifth Amendment – Denial of Substantive Due Process
                    (against Defendants Sessions and John Does 1-20)

          312.     Mr. Abdulmutallab incorporates by reference the foregoing paragraphs of

   this Complaint as if set forth fully herein.

          313.     Mr. Abdulmutallab brings this claim against Defendants Sessions and John

   Does 1-20.

          314.     By prohibiting Mr. Abdulmutallab from communicating with all but a small

   group of narrowly defined immediate family members through the imposition and

   renewals of the SAMs, Defendants Sessions and John Does, acting under color of law

   and their authority as federal officers, are infringing upon Mr. Abdulmutallab’s right to

   family integrity, and this infringement is not reasonably related to any legitimate

   penological interest, in violation of the Fifth Amendment to the United States

   Constitution.

          315.     Mr. Abdulmutallab has no adequate remedy at law or other effective means

   of enforcing his Fifth Amendment rights to substantive due process other than by seeking

   declaratory and injunctive relief from the Court.




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          316.      As a result of Defendants’ unlawful conduct, Mr. Abdulmutallab is

   suffering psychological injury, emotional distress, and destruction of his familial

   relationships.

                              SIXTH CLAIM FOR RELIEF
     Violation of the First Amendment – Retaliation Against Mr. Abdulmutallab for
                     Engaging in Protected First-Amendment Activity
                                (Against Defendant BOP)

          317.      Mr. Abdulmutallab incorporates by reference the foregoing paragraphs of

   this Complaint as if set forth fully herein.

          318.      Mr. Abdulmutallab brings this claim against Defendant BOP.

          319.      The First Amendment to the United States Constitution protects the right to

   petition the government for redress of grievances, including the right to hunger strike in

   protest of unconstitutional conditions of confinement.

          320.      It is a violation of the First Amendment to the United States Constitution

   for government officials to retaliate against an individual for engaging in an activity

   protected by the First Amendment.

          321.      Defendant BOP has retaliated against Mr. Abdulmutallab for hunger

   striking, which is an activity protected by the First Amendment.

          322.      Following Mr. Abdulmutallab’s hunger strikes in August of 2012 and

   October 2012, Defendant BOP officials retaliated against him by confining him to the

   Special Housing Unit of ADX and Range 13, without explanation or legitimate

   penological justification.




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          323.   Imposition of these extreme conditions of confinement, including

   placement in the Special Housing Unit at ADX, is a serious deprivation that would deter

   a person of ordinary firmness from exercising his right to hunger strike.

          324.   The timing of the imposition of these extreme conditions of confinement

   illustrates that Defendant BOP has retaliated against and punished Mr. Abdulmutallab for

   exercising his First-Amendment rights.

          325.   Mr. Abdulmutallab has no adequate remedy at law or other effective means

   of enforcing his right to be free from retaliation for exercising his First-Amendment

   rights, other than by seeking declaratory and injunctive relief from the Court.

          326.   As a result of Defendants’ unlawful conduct, Mr. Abdulmutallab has

   suffered and will continue to suffer emotional distress and psychological injury.

                            SEVENTH CLAIM FOR RELIEF
    Violation of the Fifth Amendment – Denial of Right to Refuse Medical Treatment
                               (Against Defendant BOP)

          327.   Mr. Abdulmutallab incorporates by reference the foregoing paragraphs of

   this Complaint as if set forth fully herein.

          328.   Mr. Abdulmutallab brings this claim against Defendant BOP.

          329.   The liberty interest guaranteed by the Due Process Clause of the Fifth

   Amendment to the United States Constitution protects an individual’s deeply personal

   decision to reject medical treatment, including the artificial delivery of food and water.




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          330.   As a competent individual, Mr. Abdulmutallab has the right to refuse

   medical treatment, including the artificial delivery of food and water.

          331.   Defendant BOP’s force-feeding nutrients into Mr. Abdulmutallab’s

   stomach against his will constitutes a substantial interference with his liberty and a

   violation of his constitutional rights to privacy and bodily integrity.

          332.   Mr. Abdulmutallab has no adequate remedy at law or other effective means

   of enforcing his right to refuse medical treatment under the Fifth Amendment other than

   by seeking declaratory and injunctive relief from the Court.

          333.   As a result of Defendants’ unlawful conduct, Mr. Abdulmutallab has

   suffered and will continue to suffer emotional distress and psychological injury.

                             EIGHTH CLAIM FOR RELIEF
    Violation of the Religious Freedom Restoration Act, 42 U.S.C. § 2000bb (RFRA) –
                                  Denial of Group Prayer
                                 (Against Defendant BOP)

          334.   Mr. Abdulmutallab incorporates by reference the foregoing paragraphs of

   this Complaint as if set forth fully herein.

          335.   Mr. Abdulmutallab brings this claim against Defendant BOP.

          336.   Defendant BOP is an agency of the federal government and therefore falls

   within the definition of “government” set forth in 42 U.S.C. § 2000bb-2(1).

          337.   As a devout Muslim, Mr. Abdulmutallab is obligated to perform prayer five

   times daily and participate in Jum’ah services.




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             338.   Mr. Abdulmutallab sincerely believes he will receive punishment from

   Allah should he not participate in group prayer and Jum’ah.

             339.   Defendant BOP substantially burdens Mr. Abdulmutallab’s practice of

   congregational prayer by prohibiting him and other Muslim inmates in H-Unit from

   engaging in congregational prayers.

             340.   Defendant BOP’s policies prohibiting congregational prayer within H-Unit

   at ADX are the proximate cause of the deprivation of Mr. Abdulmutallab’s rights under

   RFRA.

             341.   Mr. Abdulmutallab has no adequate remedy at law or other effective means

   of enforcing his right under RFRA to engage in daily group prayers other than by seeking

   declaratory and injunctive relief from the Court.

             342.   As a result of Defendant BOP’s policies prohibiting congregational prayer

   in H-Unit during the more than five years that Mr. Abdulmutallab has been incarcerated

   there, Mr. Abdulmutallab has suffered harm and remains at risk of suffering harm into the

   future.

                               NINTH CLAIM FOR RELIEF
             Violation of RFRA – Failure to Provide Meaningful Access to an Imam
                                  (Against Defendant BOP)

             343.   Mr. Abdulmutallab incorporates by reference the foregoing paragraphs of

   this Complaint as if set forth fully herein.

             344.   Mr. Abdulmutallab brings this claim against Defendant BOP.




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          345.   Defendant BOP is an agency of the federal government and therefore falls

   within the definition of “government” set forth in 42 U.S.C. § 2000bb-2(1).

          346.   As a devout Muslim, Mr. Abdulmutallab sincerely believes he is required

   to consult with leaders of his religion and develop a more personal relationship with

   Allah through regular prayers and consultation with an imam.

          347.   Defendant BOP substantially burdens Mr. Abdulmutallab’s sincerely held

   religious belief by refusing to allow any access to an imam.

          348.   Defendant BOP’s failure to provide regular access to an imam is the

   proximate cause of the deprivation of Mr. Abdulmutallab’s rights under RFRA.

          349.   Mr. Abdulmutallab has no adequate remedy at law or other effective means

   of enforcing his right under RFRA to regularly meet with an imam other than by seeking

   declaratory and injunctive relief from the Court.

          350.   As a result of Defendant BOP’s failure to provide Mr. Abdulmutallab with

   regular access to an imam for several years, Mr. Abdulmutallab has suffered harm and

   remains at risk of suffering harm into the future.

                               TENTH CLAIM FOR RELIEF
                          Violation of RFRA – Denial of a Halal Diet
                                  (Against Defendant BOP)

          351.   Mr. Abdulmutallab incorporates by reference the foregoing paragraphs of

   this Complaint as if set forth fully herein.

          352.   Mr. Abdulmutallab brings this claim against Defendant BOP.




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          353.   Defendant BOP is an agency of the federal government and therefore falls

   within the definition of “government” set forth in 42 U.S.C. § 2000bb-2(1).

          354.   As a devout Muslim, Mr. Abdulmutallab is required to consume halal foods

   that meet guidelines established by Islamic law.

          355.   Defendants have refused for years to provide Mr. Abdulmutallab with

   meals that comply with his religious dietary requirements. After Mr. Abdulmutallab

   repeatedly told BOP Trust Fund and Religious Services staff that both the Food Service

   meals and commissary meals violated his religious beliefs, Defendant BOP told Mr.

   Abdulmutallab it is not required to ensure his access to halal meals with meat. Defendant

   BOP officials have not worked to provide Mr. Abdulmutallab access to halal meals with

   meat. This refusal substantially burdens Mr. Abdulmutallab’s right to exercise his

   sincerely held religious belief.

          356.   Defendant BOP’s failure to provide a halal diet is the proximate cause of

   the deprivation of Mr. Abdulmutallab’s rights under RFRA.

          357.   Mr. Abdulmutallab has no adequate remedy at law or other effective means

   of enforcing his right under RFRA to a halal diet other than by seeking declaratory and

   injunctive relief from the Court.

          358.   As a result of Defendant BOP’s failure to provide a halal diet for several

   years, Mr. Abdulmutallab has suffered harm and remains at risk of suffering harm into

   the future.




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                          ELEVENTH CLAIM FOR RELIEF
      Violation of RFRA – Responding to Sincerely Held Religious Belief in Need for
                           Hunger Striking by Force-Feeding
                              (Against Defendant BOP)

          359.   Mr. Abdulmutallab incorporates by reference the foregoing paragraphs of

   this Complaint as if set forth fully herein.

          360.   Mr. Abdulmutallab brings this claim against Defendant BOP.

          361.   Defendant BOP is an agency of the federal government and therefore falls

   within the definition of “government” set forth in 42 U.S.C. § 2000bb-2(1).

          362.   As a devout Muslim, Mr. Abdulmutallab believes he must follow the

   religious tenets described supra. Given Defendants’ isolation of Mr. Abdulmutallab in

   solitary confinement under SAMs, and the years-long violations of his religious rights

   and harassment of him surrounding his religion and religious practices during his

   incarceration, Mr. Abdulmutallab’s conduct in engaging in passive, nonviolent hunger

   striking (to protest the inhumane conditions of his confinement and the ongoing

   violations of his religious rights) itself became a religious practice conducted in

   accordance with his sincerely held religious beliefs.

          363.   Defendant BOP has substantially burdened Mr. Abdulmutallab’s religious

   practices and sincerely held religious beliefs by responding to his passive, nonviolent

   hunger striking by brutally and violently force-feeding him, causing him physical pain

   and injury.




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          364.   Defendant BOP’s use of force-feeding in response to Mr. Abdulmutallab’s

   hunger-striking imposes a substantial burden on his exercise of his religion because

   hunger-striking is the only way Mr. Abdulmutallab can show Allah that he does not

   tolerate and accept Defendants and other inmates continually insulting his religion.

          365.   Defendant BOP’s policy and practices regarding force-feeding hunger-

   striking prisoners are the proximate cause of the deprivation of Mr. Abdulmutallab’s

   rights under RFRA.

          366.   As a result of Defendant BOP’s policies and practices regarding force-

   feeding hunger-striking prisoners, Mr. Abdulmutallab has suffered harm and remains at

   risk of suffering harm into the future.

          367.   Mr. Abdulmutallab has no adequate remedy at law or other effective means

   of enforcing his right under RFRA not to be force fed other than by seeking declaratory

   and injunctive relief from the Court.

          368.   As a result of Defendant BOP’s unlawful conduct in responding to Mr.

   Abdulmutallab’s passive, nonviolent protest of his inhumane conditions of confinement

   and violations of his religious rights by brutally and violently force-feeding him, Mr.

   Abdulmutallab has been physically injured and continues to face an unconstitutional risk

   of physical injury, and he has suffered psychological pain, injury, and emotional distress

   and continues to face an unconstitutional risk of psychological pain, injury, and

   emotional distress.




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                          TWELFTH CLAIM FOR RELIEF
          Violation of RFRA – Force-Feeding Non-Halal Nutritional Supplement
                                  (Against Defendant BOP)

          369.   Mr. Abdulmutallab incorporates by reference the foregoing paragraphs of

   this Complaint as if set forth fully herein.

          370.   Mr. Abdulmutallab brings this claim against Defendant BOP.

          371.   Defendant BOP is an agency of the federal government and therefore falls

   within the definition of “government” set forth in 42 U.S.C. § 2000bb-2(1).

          372.   As a devout Muslim, Mr. Abdulmutallab sincerely believes he is required

   to consume only halal foods that meet guidelines established by Islamic law.

          373.   Defendant BOP has repeatedly forced Mr. Abdulmutallab into a six-point

   restraint chair, strapped him down, and made him involuntary ingest non-halal (or

   “haram”) nutritional supplement. This completely involuntary force-feeding of haram

   substances substantially burdens Mr. Abdulmutallab’s sincerely held religious beliefs.

          374.   Defendant BOP’s policy and practice of force-feeding hunger-striking

   Muslim inmates with haram substances is the proximate cause of the deprivation of Mr.

   Abdulmutallab’s rights under RFRA.

          375.   Mr. Abdulmutallab has no adequate remedy at law or other effective means

   of enforcing his right under RFRA not to be force fed with haram substances other than

   by seeking declaratory and injunctive relief from the Court.




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          376.   As a result of Defendant BOP’s policy and practice of force-feeding him

   with haram substances, Mr. Abdulmutallab has suffered harm and remains at risk of

   suffering harm into the future.

                           THIRTEENTH CLAIM FOR RELIEF
          Violation of the Eighth Amendment – Force-Feeding as Excessive Force
                                 (Against Defendant BOP)

          377.   Mr. Abdulmutallab incorporates by reference the foregoing paragraphs of

   this Complaint as if set forth fully herein.

          378.   Mr. Abdulmutallab brings this claim against Defendant BOP.

          379.   Defendant BOP maliciously and sadistically use excessive force on Mr.

   Abdulmutallab by brutally and violently force-feeding him, causing him pain and injury.

          380.   Defendant BOP uses brutal and violent force-feeding on Mr.

   Abdulmutallab for the purpose of retaliating against and punishing Mr. Abdulmutallab

   for exercising his legal rights by passively and nonviolently hunger striking to protest the

   inhumane conditions of his confinement and ongoing violations of his religious rights.

   Defendant BOP’s purpose in force-feeding Mr. Abdulmutallab at all and in the brutal and

   violent manner used is also for the purpose of deterring him and other ADX prisoners—

   including other ADX prisoners under SAMs—from protesting and drawing attention to

   the inhumane conditions of their confinement and violations of their religious rights by

   engaging in passive, nonviolent hunger striking.




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          381.   Defendant BOP has and will continue to use excessive force by force-

   feeding Mr. Abdulmutallab, thereby subjecting him to cruel and unusual punishment in

   violation of the Eighth Amendment to the United States Constitution.

          382.   Mr. Abdulmutallab has no adequate remedy at law or other effective means

   of enforcing his Eighth-Amendment rights other than by seeking declaratory and

   injunctive relief from the Court.

          383.   As a result of Defendant BOP’s unlawful conduct in responding to Mr.

   Abdulmutallab’s passive, nonviolent protest of his inhumane conditions of confinement

   and violations of his religious rights by brutally and violently force-feeding him, Mr.

   Abdulmutallab has been physically injured and continues to face an unconstitutional risk

   of physical injury, and he has suffered psychological pain, injury, and emotional distress

   and continues to face an unconstitutional risk of psychological pain, injury, and

   emotional distress.

                          FOURTEENTH CLAIM FOR RELIEF
   Violation of the Eighth Amendment—Cruel and Unusual Punishment Arising From
         the Totality of Circumstances, Including: Long-term, Indefinite Solitary
         Confinement; SAMs; Violations of Religious Rights; and Force-Feeding
                                 (Against all Defendants)

          384.   Mr. Abdulmutallab incorporates by reference the foregoing paragraphs of

   this Complaint as if set forth fully herein.

          385.   Mr. Abdulmutallab brings this claim against all Defendants.




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          386.   Defendants willfully and maliciously subject Mr. Abdulmutallab to

   excessive, cruel, inhuman, and degrading conditions of confinement, including prolonged

   and complete denial of any opportunity for physical contact with their loved ones,

   excessive restriction of other means of communication with family members and

   members of the community; extended detention in a unit segregated from other inmates,

   without legitimate penological purpose; and restrictions on his ability to meaningfully

   practice his sincerely held religious beliefs.

          387.   If he were not under SAMs, Mr. Abdulmutallab, like the overwhelming

   majority of other federal prisoners in the United States, would be able to draw public

   attention and scrutiny of the unconstitutional and inhumane conditions of his confinement

   by communicating openly about such problems with members of the public, including

   human-rights advocates and entities as well as members of the media.

          388.   Because of overly restrictive nature of the SAMs, however, Mr.

   Abdulmutallab has had to resort to hunger striking in order to attempt to challenge the

   unconstitutional and inhumane conditions of his confinement in an effective manner.

          389.   Defendants use brutal force-feeding for the purpose of retaliating against

   and punishing Mr. Abdulmutallab for exercising his constitutional and legal rights.

          390.   Defendants also use brutal force-feeding for the purpose of deterring Mr.

   Abdulmutallab from exercising his constitutional and legal rights in the future.




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          391.     By incarcerating Mr. Abdulmutallab in indefinite, long-term solitary

   confinement under SAMS; subjecting him to inhumane conditions of confinement;

   violating his religious rights; and then force-feeding him when he passively and

   nonviolently protests, Defendants are imposing punishment on Mr. Abdulmutallab that

   violates the evolving standards of decency that are the hallmark of a maturing society,

   and that is cruel and unusual in violation of the Eighth Amendment to the United States

   Constitution.

          392.     By incarcerating Mr. Abdulmutallab in indefinite, long-term solitary

   confinement under SAMS; subjecting him to inhumane conditions of confinement;

   violating his religious rights; and then force-feeding him when he passively and

   nonviolently protests, Defendants are denying Mr. Abdulmutallab the minimal civilized

   measure of life’s necessities in violation of the Eighth Amendment to the United States

   Constitution.

          393.     These distinct constitutional violations have a mutually reinforcing effect of

   depriving Mr. Abdulmutallab of social interaction—a basic human need—through

   prolonged solitary confinement and restrictive communication measures coupled with

   depriving Mr. Abdulmutallab of the opportunity to remediate his harsh conditions of

   confinement with either religious practice or peaceful protest.




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          394.   Mr. Abdulmutallab has no adequate remedy at law or other effective means

   of enforcing his Eighth-Amendment right to be free from cruel and unusual punishment

   other than by seeking declaratory and injunctive relief from the Court.

          395.   As a result of Defendants’ unlawful conduct, Mr. Abdulmutallab is

   suffering psychological pain and harm and unnecessary punishment and will continue to

   suffer such harms in the future.

                                VI.   PRAYER FOR RELIEF

          WHEREFORE, Mr. Abdulmutallab respectively requests that this Court enter

   judgment in his favor and against the Defendants, and grant him the following relief:

          a)     A declaration that the acts and omissions described herein are in violation

   of Mr. Abdulmutallab’s right to procedural protections under the Due Process Clause of

   the Fifth Amendment;

          b)     A declaration that the acts and omissions described herein are in violation

   of Mr. Abdulmutallab’s rights under the Free-Speech Clause of the First Amendment;

          c)     A declaration that the acts and omissions described herein are in violation

   of Mr. Abdulmutallab’s right to Free Association guaranteed by the First Amendment;

          d)     A declaration that the acts and omissions described herein are in violation

   of Mr. Abdulmutallab’s right to Familial Association guaranteed by the First

   Amendment;




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            e)    A declaration that the acts and omissions described herein are in violation

   of Mr. Abdulmutallab’s right to substantive due process under the Due Process Clause of

   the Fifth Amendment;

            f)    A declaration that the acts and omissions described herein are in violation

   of Mr. Abdulmutallab’s right to engage in First Amendment protected activity without

   retaliation;

            g)    A declaration that the acts and omissions described herein are in violation

   of Mr. Abdulmutallab’s right to refuse medical treatment under the Fifth Amendment;

            h)    A declaration that the acts and omissions described herein are in violation

   of Mr. Abdulmutallab’s rights under the Religious Freedom Restoration Act (RFRA);

            i)    A declaration that the acts and omissions described herein are in violation

   of Mr. Abdulmutallab’s right under the Eighth Amendment to be free from excessive

   force;

            j)    A declaration that the acts and omissions described herein are in violation

   of Mr. Abdulmutallab’s right under the Eighth Amendment to be free from cruel and

   unusual punishments;

            k)    A permanent injunction ordering Defendant Sessions to remove the SAMs

   from Mr. Abdulmutallab and prohibiting Defendant Sessions or future Attorneys General

   from re-imposing SAMs on Mr. Abdulmutallab;




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         l)     A permanent injunction ordering Defendant BOP to remove Mr.

   Abdulmutallab from solitary confinement (a/k/a “restrictive housing”);

         m)     A permanent injunction prohibiting Defendant BOP from retaliating against

   Mr. Abdulmutallab for engaging in First Amendment protected activity;

         n)     A permanent injunction prohibiting Defendant BOP from force-feeding Mr.

   Abdulmutallab;

         o)     A permanent injunction ordering Defendant BOP to allow and/or provide

   Mr. Abdulmutallab, at any and all BOP facilities where he is placed:

                i.      the ability to engage in daily congregational group prayers during

         the times that he is otherwise allowed out of his cell;

                ii.     meaningful, regular access to an imam;

                iii.    a nutritionally adequate, halal-certified diet with halal-certified meat

         products that fully conforms to his religious beliefs; and

                iv.     information regarding the source(s) of halal certification of BOP

         inmate meals so that he may ensure the meals conform to his religious beliefs;

         p)     Attorney’s fees and the costs associated with this action as allowed by law;

   and

         q)     Any further relief that this Court deems just and proper, and any other relief

   as allowed by law.




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        Dated this 14th day of April, 2018.

                                                   JOHNSON & KLEIN, PLLC

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 14th day of April 2018, I electronically filed the foregoing

   FIRST AMENDED COMPLAINT with the Clerk of the Court using the CM/ECF system,

   which will send notification of such filing to all counsel of record, including the following:

          David Z. Moskowitz
          Assistant United States Attorney
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          Denver, CO 80202
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                                                    s/ Gail K. Johnson
                                                    Gail K. Johnson




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